                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION


IN RE:                                           )
                                                 )
BRUNO'S SUPERMARKETS, LLC                        ) Chapter 11
                       Debtor.                   ) Case No. 09-00634
                                                 )
    DISCLOSURE STATEMENT FOR DEBTOR'S PLAN OF LIQUIDATION DATED
                JUNE 19, 2009 PURSUANT TO 11 U.S.C. § 1125




                                    DATED: JUNE 19, 2009



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             THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR
             APPROVAL FROM, BUT HAS NOT BEEN APPROVED BY, THE
             BANKRUPTCY COURT.     THIS IS NOT A SOLICITATION OF
             ACCEPTANCE OR REJECTION OF THE PLAN. ACCEPTANCE OR
             REJECTION MAY NOT BE SOLICITED UNTIL A DISCLOSURE
             STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT.



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                                         ARTICLE I.
                                       INTRODUCTION

       On February 5, 2009, the Debtor Bruno's Supermarkets, LLC, now known as BFW
Liquidation, LLC, Filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code.
The Debtor has continued to manage its businesses as Debtor in possession and no trustee has
been appointed.

        The Debtor (also referred to as the "Proponent") submits this Disclosure Statement
pursuant to Bankruptcy Code § 1125, to disclose information to enable creditors and other
parties in interest entitled to vote (if any) (the "Claimants") to make an informed decision in
exercising their rights to accept or reject the Debtor's Plan of Liquidation (the "Plan").

        The Proponent submits this Disclosure Statement pursuant to Bankruptcy Code § 1125 to
holders of Claims against, and Interests in, the Debtor in connection with (i) the solicitation of
votes to accept the Plan, and (ii) the Confirmation Hearing scheduled for ________________,
2009 at __:___ __.m., prevailing Central Time, to be held by the Bankruptcy Court to consider
confirmation of the Plan pursuant to Bankruptcy Code §§ 1128 and 1129 and Bankruptcy Rule
3017, as such hearing may be adjourned or continued from time to time. The Bankruptcy Court
has directed that objections, if any, to confirmation of the Plan be served and Filed so that they
are received on or before ______________________, 2009, 4:30 p.m., prevailing Central Time.
The Confirmation Hearing may be adjourned or continued from time to time by the Bankruptcy
Court without further notice except for the announcement of the adjournment or continuance
date made at the Confirmation Hearing or at any subsequent adjourned or continued
Confirmation Hearing.

       Annexed as Exhibits to this Disclosure Statement are copies of the following documents:

       •       Debtor's Plan Under Chapter 11 of the Bankruptcy Code (Exhibit A);

       •       Chart of Closing Stores (Exhibit B);

       •       Chart of Going Concern Stores and GOB Stores (Exhibit C);

       •       Chart of Pharmacy Asset Sales (Exhibit D);

       •       Chart of Debtor's Liabilities (Exhibit E); and

       •       Chart of Debtor's Unencumbered Assets (Exhibit F).


        All capitalized terms employed in this Disclosure Statement and not otherwise defined
herein shall have the meanings given such terms in the Plan attached hereto as Exhibit "A".




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                              ARTICLE II.
                      NATURE OF REPRESENTATIONS

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED BY THE DEBTOR
SOLELY FOR THE BENEFIT OF CREDITORS AND HOLDERS OF INTERESTS IN THE
DEBTOR. THIS DISCLOSURE STATEMENT AND THE RELATED DOCUMENTS ARE
THE ONLY DOCUMENTS AUTHORIZED BY THE BANKRUPTCY COURT TO BE USED
IN CONNECTION WITH THE SOLICITATION OF VOTES ACCEPTING OR REJECTING
THE PLAN.

     THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
INCLUDED TO SOLICIT ACCEPTANCES OF THE PLAN. THE INFORMATION IN THIS
DISCLOSURE STATEMENT SHOULD NOT BE RELIED UPON FOR ANY PURPOSE
OTHER THAN TO DETERMINE HOW TO VOTE ON THE PLAN. NO PERSON MAY
GIVE ANY INFORMATION OR MAKE ANY REPRESENTATIONS, OTHER THAN THE
INFORMATION AND REPRESENTATIONS CONTAINED IN THIS DISCLOSURE
STATEMENT REGARDING THE PLAN OR THE SOLICITATION OF ACCEPTANCES OF
THE PLAN.

     ANY PARTY WHO DOES NOT OBJECT TO THIS DISCLOSURE STATEMENT IS
NOT DEEMED TO WAIVE ANY RIGHTS TO OBJECT TO THE CONFIRMATION OF THE
PLAN ON ANY BASIS OTHER THAN LACK OF ADEQUATE DISCLOSURE UNDER
BANKRUPTCY CODE SECTION 1125.

     ALL CREDITORS SHOULD READ THIS DISCLOSURE STATEMENT AND THE
PLAN BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. STATEMENTS MADE IN
THIS DISCLOSURE STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY
REFERENCE TO THE PLAN.

     THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE
MADE BY THE DEBTOR AS OF THE DATE HEREOF UNLESS OTHERWISE SPECIFIED.
THE DELIVERY OF THIS DISCLOSURE STATEMENT DOES NOT IMPLY THAT THERE
HAS BEEN NO CHANGE IN THE INFORMATION SET FORTH HEREIN SINCE SUCH
DATE. THE DEBTOR PREPARED THIS DISCLOSURE STATEMENT, BUT DOES NOT
WARRANT OR REPRESENT THAT THIS DISCLOSURE STATEMENT IS WITHOUT
ERROR. HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN SHOULD READ
THIS DISCLOSURE STATEMENT AND PLAN AND CONSULT WITH COUNSEL OR
OTHER ADVISORS PRIOR TO VOTING ON THE PLAN.

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
WITH SECTION 1125 OF THE UNITED STATES BANKRUPTCY CODE AND RULE 3016
OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND NOT NECESSARILY
IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER NON-
BANKRUPTCY LAW.

     NOTHING IN THIS DISCLOSURE STATEMENT IS AN ADMISSION OF ANY
FACT OR LIABILITY BY ANY PARTY, NOR DOES THIS DISCLOSURE STATEMENT

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PROVIDE ADVICE ON THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN AS TO
HOLDERS OF CLAIMS. YOU SHOULD CONSULT YOUR TAX ADVISOR ON ANY
QUESTIONS OR CONCERNS RESPECTING TAX, SECURITIES OR OTHER LEGAL
CONSEQUENCES OF THE PLAN.

     IF ANY INCONSISTENCY EXISTS BETWEEN THE TERMS AND PROVISIONS
OF THE PLAN AND THIS DISCLOSURE STATEMENT, THE TERMS AND PROVISIONS
OF THE PLAN CONTROL. CERTAIN OF THE STATEMENTS CONTAINED IN THIS
DISCLOSURE STATEMENT ARE FORWARD LOOKING FORECASTS AND ARE BASED
UPON CERTAIN ESTIMATES AND ASSUMPTIONS. THERE CAN BE NO ASSURANCE
THAT SUCH STATEMENTS WILL BE REFLECTIVE OF ACTUAL OUTCOMES.

             IRS CIRCULAR 230 NOTICE

     TO ENSURE COMPLIANCE WITH IRS CIRCULAR 230, HOLDERS OF CLAIMS
ARE HEREBY NOTIFIED THAT: (A) ANY DISCUSSION OF FEDERAL TAX ISSUES
CONTAINED OR REFERRED TO IN THIS DISCLOSURE STATEMENT IS NOT
INTENDED OR WRITTEN TO BE USED, AND CANNOT BE USED, BY HOLDERS OF
CLAIMS FOR THE PURPOSE OF AVOIDING PENALTIES THAT MAY BE IMPOSED ON
THEM UNDER THE INTERNAL REVENUE CODE; (B) SUCH DISCUSSION IS WRITTEN
IN CONNECTION WITH THE SOLICITATION OF VOTES ON THE PLAN AND OTHER
MATTERS ADDRESSED HEREIN; AND (C) CLAIMANTS SHOULD SEEK ADVICE
BASED ON THEIR PARTICULAR CIRCUMSTANCES FROM AN INDEPENDENT TAX
ADVISOR.

                                         ARTICLE III.
                                        BACKGROUND

             A.   Narrative Description of the Debtor

        Joseph Bruno opened a single grocery market in Birmingham, Alabama in 1932. In
1971, Bruno's became a publicly traded company. In 1972, Bruno's opened a discount grocery
store, Food World and Consumer Foods. As Food World and Consumer Foods became more
profitable, the old Bruno's stores began to be phased out. Consumer Foods was replaced by Food
Fair in 1983, and in 1984 Bruno's opened its first Foodmax stores.

        The 1990s saw the reintroduction of the Bruno's banner on stores, this time as Bruno's
Supercenters and Bruno's Food and Pharmacy, both of which were upper-class stores. Another
concept, the upscale Vincent's Market, was tried in a one-location experiment in Homewood,
Alabama. The experimental store featured a wide variety of prepared foods such as seafood,
bakery goods and take-out meals as well as regular grocery sales. Around 2000, Vincent's
Market was converted to the Bruno's nameplate (though it was largely unchanged otherwise),
and the Vincent's Market name was applied to the deli/bakery departments in all existing Bruno's
stores.

       In 1995, the company was acquired by Kohlberg Kravis Roberts (KKR), a leveraged
buyout firm. Several years following this acquisition, the company was forced into Chapter 11
bankruptcy. The company emerged from bankruptcy in 2000 after closing a number of
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unprofitable stores, but acquired three new stores from the Gregerson's chain in and around
Gadsden, Alabama. The company was sold in December 2001 to Ahold, a Dutch corporation,
who then combined it with Bi-Lo, LLC. In 2005, Ahold sold the combined operation to Lone
Star Funds, a private investment company. Lone Star then sold some stores to C&S Wholesale
Grocers which operated the new stores under its Southern Family Markets affiliate for a time but
closed most of the acquired stores in 2007. C&S Wholesale was also the primary supplier for
Bruno's; this realtionship arose out of an agreement between Lone Star and C&S. C&S owned
and operated the logistics and warehouses while Lone Star's companies, Bruno's and Bi-Lo,
would own and operate the stores.

        On March 20, 2007, Lone Star Funds announced it had spun out Bruno's from BI-LO
creating a separate corporate entity. Seven unprofitable stores were closed as a result of this
transaction, and Bi-Lo transferred tweleve (12) leases to Bruno's.

        Prior to the Petition Date, Debtor operated 23 Bruno's stores, 41 Food World stores, and
2 Foodmax stores in Northport and Oxford. The Foodmax stores are operated the same way as
Food World stores with their name being the only discernible difference. The two Foodmax
stores are tied to labor agreements with the UFCW union which has prevented any name change
to the stores. The employees in these stores wear "Food World" uniforms, and the signage in the
stores uses the Food World banner.

        In October 2008, Debtor announced plans to close twenty-two (22) of its forty (40) in-
store pharmacies. This left Debtor with eighteen (18) in-store pharmacies within the sixty-six
(66) stores operating at the time. All inventories and records in the twenty-two pharmacies were
sold to CVS/pharmacy, and all employees were either offered severance packages or
employment with CVS.

       In December 2008, the corporate offices were moved to International Park office park
located in Hoover, Alabama. This move left the former Bruno's headquarters located on
Lakeshore Parkway in Birmingham in the hands of C&S Wholesale Grocers, who acquired the
building in 2005 as part of purchasing the former logistics operations and warehouse previously
owned by Debtor.

        The majority of the Debtor's sixty-six (66) stores were, as of the Petition Date, located on
real property leased from third parties. Only five (5) of Debtor's stores were located on real
property owned by Debtor.

        Prior to the Petition Date, Regions Bank ("Regions) was Debtor's primary lender. The
total amount of the Debtor's pre-petition debt approximated $10.1 million. Regions also served
as Debtor's post-petition lender.




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             B.   Summary of Events that Occurred During the Course of the Bankruptcy1

                  1.    DIP Financing

        After filing for bankruptcy, the Debtor entered into DIP financing agreements with
Regions Bank (the "DIP Financing"). Regions was also Debtor's primary lender prior to the
filing of the bankruptcy. The DIP Financing provided by Regions was utilized by the Debtor to
fund the Debtor's bankruptcy Case. This DIP Financing was replaced and/or renewed at least
once during the course of the Debtor's bankruptcy Case. As a result of the asset sale (described
below in Section IV.B.4), Regions' pre-petition and post-petition financing accommodations to
Debtor have been paid in full with the proceeds of such sale.

                  2.    Professionals

       At the beginning of the Case, the Debtor's applications to employ Burr & Forman LLP as
the Debtor's primary legal counsel and Najjar Denaburg as the Debtor's conflicts counsel were
approved by the Bankruptcy Court. The Debtor also employed the Special Situations Group of
National City Investments as its investment banker, Jim Grady, as its Chief Restructuring
Officer, and the firm of Alvarez and Marsal as its Management Advisors.

         The Official Committee of Unsecured Creditors was appointed on February 18, 2009 and
is made up of Flowers Foods Inc., Coca Cola Enterprises, Inc., C&S Wholesale Grocers, Inc.,
Vertis, Inc., Buffalo Rock Company, Palladeo, and Cardinal Health 110, Inc. C&S Wholesale
Grocers, Inc. resigned on April 24, 2009. The Bankruptcy Court authorized the Committee to
retain Greenburg Traurig, LLP as their legal counsel and Mesirow Financial Consulting LLC as
their financial advisor.

                  3.    Closing of Stores

        During the course of the Bankruptcy Case and as part of its reorganization efforts, Debtor
analyzed the performance of all sixty-six of its grocery stores. During that evaluation, Debtor
identified ten (10) stores located in various Alabama cities as underperforming stores (the
"Closing Stores"). After evaluating many options to potentially rehabilitate the Closing Stores,
Debtor determined, in its business judgment, to close the Closing Stores and to conduct going
out of business sales at each such store location. On March 2, 2009, the Bankruptcy Court
entered an order approving the closing of these stores. The Bankruptcy Court further authorized
Debtor's retention of Hilco Merchant Resources, LLC as Debtor's liquidation agent to conduct
going-out-of business sales at each Closing Store. A list of the Closing Stores is attached hereto
as Exhibit B.

                  4.    Asset Sales



             1
              This section includes a brief description of the events that occurred during the
Debtor's Case; for a more detailed description of the events taking place during the Case, please
see the Bankruptcy Court's docket for this case or http://www.kccllc.net/brunos.

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       On April 14, 2009, the Bankruptcy Court authorized Debtor to conduct an auction for all
or substantially all of its assets (the "Auction"). On May 1, 2009, Debtor submitted an Asset
Purchase Agreement to the Bankruptcy Court for final approval in Debtor's Notice Of Asset
Purchase Agreement Between Debtor And Southern Family Markets Acquisitions II LLC
("SFM"). Under the APA, SFM purchased certain of Debtor's grocery stores which SFM will
operate as a going concern (the "Going Concern Stores"). SFM also purchased the right to
conduct a going-out-of-business sale at certain of Debtor's other stores (the "GOB Stores"). On
May 4, 2009, the Bankruptcy Court entered an order approving the sale of substantially all of
Debtor's assets to SFM and authorizing SFM to conduct going-out-of-business sales at the GOB
Stores. A list of the Going Concern Stores and the GOB Stores is attached hereto as Exhibit C.

        Also, in conjunction with the Auction, Debtor sold other assets, specifically, certain
pharmacy merchandise inventory and pharmacy prescription data, to the highest bidder for such
assets (the "Pharmacy Asset Sales"). The Bankruptcy Court entered an order approving the sale
of such pharmacy assets to the respective highest bidder, including Fred's Stores of Tennessee,
Inc., Walgreen Company, and CVS of Alabama, LLC, and Target Corporation. A list of the
Pharmacy Asset Sales is attached hereto as Exhibit D.

             C.     Description of Debtor's Liabilities

             A summary of the various liabilities of Debtor is set forth on Exhibit E, attached hereto.

             D.     Description of Debtor's Unencumbered Assets

       A summary of the various unencumbered assets of Debtor is set forth on Exhibit F,
attached hereto.

                                         ARTICLE IV.
                                EVENTS LEADING TO BANKRUPTCY

        Debtor's bankruptcy filing was precipitated by a variety of factors that have led to a
deterioration of its business and a lack of liquidity. Over the past twenty-four (24) months, the
country has seen a significant decline in the economy as a whole. The economic decline has
resulted in a significant decrease in consumer spending, including food and grocery items. This
decreased demand led to a decline in Debtor's sales.

       Furthermore, Debtor has also seen an increased amount of competition in its core market
from other grocers. With an abundance of older locations, Debtor had difficulty competing with
the newer grocery stores that have moved into its markets. This increased competition from
newer grocery stores reduced Debtor's market share.

        Additionally, the frozen credit markets have limited the availability of capital for
improvements to Debtor's stores to allow Debtor to compete with the newer stores of its
competitors. Furthermore, the lack of available capital resulted in Debtor being unable to locate
sufficient working capital with which to operate its stores.




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                                       ARTICLE V.
                                   SUMMARY OF THE PLAN

       The Debtor believes that its creditors, as a group, will obtain a greater recovery from the
Estate of the Debtor through the Debtor's Chapter 11 Plan, than the recovery that would be
available if the assets of the Debtor were liquidated under Chapter 7 of the Bankruptcy Code.
Accordingly, the Plan will maximize the value of the Debtor's assets. The Debtor believes,
therefore, that the Plan is in the best interests of the creditors.

        The following summary is offered for convenience only; it is not a complete description
of the terms of the Plan. Creditors must review the Plan itself for a complete understanding of
the Plan and disclosure of its terms. In the event of a discrepancy between the terms of the
Plan and anything contained in this Disclosure Statement, the terms of the Plan shall control.

             A.   Overview of Plan

        The Plan places the creditors and equity holders of the Debtor in separate classes and
provides for the treatment of each such class. For purposes of voting and all matters related to
confirmation, except as otherwise provided in the Plan, all Claims and Interests shall be
classified as set forth in Section II of the Plan. A Claim or Interest is classified in a particular
class only to the extent that the Claim or Interest qualifies under the description of that class, and
is classified in other classes to the extent that any remainder of the Claim or Interest qualifies
under the description of such other classes. A Claim or Interest also is classified within a
particular class only to the extent that such Claim or Interest is an Allowed Claim or Interest in
that class and has not been paid, released or otherwise satisfied prior to the Effective Date.

       The Plan is a liquidating plan. Upon the Effective Date, substantially all of the Debtor's
Assets have been sold to Southern Family Markets, LLC. The Plan provides for the liquidation
and conversion to Cash of the Debtor's remaining Assets and the Distribution of the Net
Proceeds realized therefrom by a Liquidating Trustee, as chosen by the Committee pursuant to
Section VI.A.1 of the Plan, to the Debtor's Creditors holding Allowed Claims in accordance with
the provisions established by the Bankruptcy Code. The Plan further provides for the
termination of all Interests in the Debtors and the dissolution and wind up of the affairs of the
Debtor.

       The Liquidating Trustee shall liquidate the Assets of the Estate in accordance with the
Plan and shall distribute the Net Proceeds thereof as follows: (a) first to pay the reasonable costs
and expenses of the Liquidating Trustee and his professionals (including professional fees)
incurred in administering, maintaining, and preserving the Available Funds and making the
Distributions, and the liquidation of the Assets of the Estate (to the extent not otherwise paid
pursuant to the Plan); and (b) second Pro Rata to the holders of Allowed Claims on the terms and
conditions, and in the priority, set forth in the Plan.

             B.   Classification of Claims

       All Claims and Interests except Administrative Expense Claims, PACA Claims, PASA
Claims, and Priority Tax Claims shall be classified as set forth in Section II of the Plan.


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        A Claim or Interest shall be deemed classified in a particular Class only to the extent that
the Claim or Interest qualifies within the description of that Class and shall be deemed classified
in a different Class to the extent that any remainder of the Claim or Interest qualifies within the
description of such different Class. A Claim or Interest is in a particular Class only to the extent
that such Claim or Interest is Allowed in that Class and has not been paid or otherwise settled
before the Effective Date.

             This Plan Proponent has set forth the Classes below:

             C.     Unclassified Claims

                    1.     Administrative Expense Claims.

                    2.     PACA Claims.

                    3.     PASA Claims.

             D.     Classes of Claims.

               1.     Priority Tax Claims. Priority Tax Claims shall collectively consist of
any Claims against the Debtor of a Governmental Unit of the kind specified in sections 502(i) or
507(a)(8) of the Bankruptcy Code.

               2.    Priority Non-Tax Claims.Priority Non-Tax Claims shall collectively
consist of any Claims against the Debtor that is entitled to priority under section 507(a) of the
Bankruptcy Code, other than Administrative Expense Claims or Priority Tax Claims.

              3.     Class 1 – Secured Claims.Class 1 shall consist of all Allowed Secured
Claims. Class 1 Claims include, without limitation, Claims secured by equipment in connection
with equipment financings and Claims secured by mechanic's, materialmen's and artisan's liens
on miscellaneous personal and/or real property. Each Class 1 Claim is treated for all purposes
under the Bankruptcy Code and this Plan as a separate Class.

               4.       Class 2 – Convenience Class of Unsecured Claims Against
Debtor.Class 2 shall consist of all Allowed Unsecured Claims against Debtor (other than Class 3
Claims) that are: (i) in an amount of $500.00 or less; or (ii) that the holder has voted to accept
this Plan and elects to be treated as being in an amount of $500.00 on the Ballot submitted by
such Holder with respect to this Plan.

                5.     Class 3 – General Unsecured Claims Against Debtor.Class 3 shall
consist of all Allowed Unsecured Claims against Debtor (other than Class 2 Claims).

                6.      Class 4 – Interests.Class 4 shall consist of all Interests in the Debtor.
(This Class is conclusively presumed to have rejected this Plan and is not entitled to vote to
accept or reject this Plan.)




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                                       ARTICLE VI.
                               Treatment of Claims and Interests

        No Claim or Interest shall entitle the Holder thereof to a Distribution of Cash or to other
consideration pursuant to this Plan unless, and only to the extent that, such Claim or Interest is an
Allowed Claim or an Allowed Interest. Except as otherwise provided in this Plan or an order of
the Bankruptcy Court, all Distributions of Cash on account of Allowed Claims and Allowed
Interests shall be made on Distribution Date.

             A.   Treatment of Unclassified Claims.

                  1.    Administrative Expense Claims

                         a.      Allowance and Payment of Fee Claims. Except as provided by
prior order of the Bankruptcy Court, professionals or other entities asserting a Fee Claim must
File and serve on the Debtor, the Liquidating Trustee, the Bankruptcy Administrator, and such
other entities as are designated by the Bankruptcy Rules, the Confirmation Order or other Final
Order of the Bankruptcy Court, an application for final allowance of compensation and
reimbursement of expenses no later than thirty (30) days after the Effective Date. Such
application may include fees and expenses of the applicant incurred after the Confirmation Date
but prior to the Effective Date. Failure to timely and properly File an application for Allowance
of a Fee Claim as set forth herein shall result in such Fee Claim being forever barred and
discharged. Objections to an application for allowance of a Fee Claim must be Filed and served
on the Debtor, the Liquidating Trustee, the Bankruptcy Administrator, and the applicant no later
than twenty (20) days after the Filing of the application for allowance of such Fee Claim. Any
Allowed Fee Claim unpaid as of the Effective Date shall be paid on the Effective Date or, if
later, not later than the fifteenth (15th) Business Day after such Fee Claim becomes Allowed, in
Cash equal to such Allowed Fee Claim from the Available Funds.

                       b.     General Allowance Provisions for Administrative Expense
Claims Other than Fee Claims and Goods Claims. Pursuant to section 502 of the Bankruptcy
Code, requests for payment of an Administrative Expense Claim, other than statutory fees, Fee
Claims, or Goods Claims, arising before the Effective Date, must be Filed and served on the
Liquidating Trustee and the Bankruptcy Administrator, pursuant to procedures set forth in the
Confirmation Order, no later than thirty (30) days after the Effective Date; provided, however,
all requests for payment of Goods Claims that were not filed before the June 5, 2009 Bar Date
established by the Bankruptcy Court's Order of May 8, 2009, shall be denied, barred and
discharged as untimely. Each such request for payment of an Administrative Expense Claim
must include, at a minimum, (i) the name of the Holder of the Claim, (ii) the amount of the
Claim, (iii) the basis for the Claim, and (iv) documents evidencing or supporting the Claim.
Failure to timely and properly file a request for payment of an Administrative Expense Claim as
set forth herein shall result in the Administrative Expense Claim being forever barred and
discharged. Objections to any such request may be made by the Debtor or any party in interest
and such objections, if any, must be filed and served on the Bankruptcy Administrator, the
Liquidating Trustee and the requesting party by the later of twenty (20) days after the Effective
Date or twenty (20) days after the filing of the applicable request for payment. To the extent not
paid prior to the Effective Date, these claims shall be paid on the Effective Date or, if later, no

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later than the fifteenth (15th) Business Day after such Claim becomes Allowed, Cash equal to
such Allowed Claim from the Available Funds.

                      c.      Payment of Goods Claims and Administrative Expense Claims
allowed under Section III.A.1(b) of the Plan. Subject to the allowance procedures set forth
herein, unless such Holder agrees to other treatment (in which event, such other agreement shall
govern), each Holder of a Goods Claim or an Allowed Administrative Expense Claim Allowed
pursuant to Section III.A.1(b) of this Plan, shall, to the extent not already paid, be paid on the
Effective Date or, if later, no later than the fifteenth (15th) Business Day after such Claim
becomes Allowed, Cash equal to such Allowed Claim from the Available Funds.

                      d.      Allowance and Payment of PACA/PASA Claims. All requests
for payment of PACA Claims and/or PASA Claims that were not filed before the respective
statutory deadline provided in either PACA or PASA, shall be denied, barred and discharged as
untimely, as established by the PACA/PASA Order. Subject to the allowance procedures set
forth in the PACA/PASA Order, unless the Holder of an Allowed PACA Claim or an Allowed
PASA Claim agrees to other treatment (in which event, such other agreement shall govern), each
such Holder of an Allowed PACA Claim or an Allowed PASA Claim Allowed pursuant to the
terms of the PACA/PASA Order, shall, to the extent not already paid, be paid on the Effective
Date Cash equal to such Allowed PACA Claim and/or Allowed PASA Claim from the Available
Funds.

             B.   Treatment of Unimpaired Classes.

                 1.     Priority Non-Tax ClaimsUnless such Holder agrees to other treatment
(in which event, such other agreement shall govern), each Holder of an Allowed Priority Non-
Tax Claim shall, to the extent not already paid, shall be paid in full in Cash from the Available
Funds, to the extent funds are available, within 30 days after all Allowed Administrative Expense
Claims, Allowed PACA Claims, Allowed PASA Claims and Allowed Priority Non-Tax Claims
that exist against the Debtor have been paid in full or, if an objection is pending at such time, no
later than the fifteenth (15th) Business Day after such Claim becomes Allowed, in Cash from the
Available Funds.

                 2.      Priority Tax Claims.Unless such Holder agrees to other treatment (in
which event, such other agreement shall govern), each Holder of an Allowed Priority Tax Claim
shall be paid in full in Cash from the Available Funds, to the extent funds are available, within
30 days after all Allowed Administrative Expense Claims, Allowed PACA Claims, Allowed
PASA Claims and Allowed Priority Non-Tax Claims that exist against the Debtor have been paid
in full or, if an objection is pending at such time, no later than the fifteenth (15th) Business Day
after such Claim becomes Allowed, in Cash from the Available Funds.

                3.     Class 1 — Allowed Secured Claims.Unless such Holder agrees to other
treatment (in which event, such other agreement shall govern), each Holder of an Allowed Class
1 Claim shall receive the Collateral securing their Liens on, or as soon as reasonably practicable
after, the Effective Date.




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      C.     Treatment of Impaired ClassesClass 2: Convenience Class of Unsecured
Claims Against Debtor.

                      a.       Unless such Holder agrees to other treatment (in which event, such
other agreement shall govern), each Holder of a Class 2 Claim shall receive twenty-five percent
(25%) of its Allowed Claim amount from the Available Funds, to the extent funds are available,
within thirty (30) days after all Allowed Administrative Expense Claims, Allowed Priority Tax
Claims, Allowed PACA Claims, Allowed PASA Claims, Allowed Priority Non-Tax Claims and
Allowed Class 1 Claims that exist against the Debtor have been paid in full.

                        b.      Claims in Class 2 are impaired under this Plan. Therefore,
pursuant to section 1126(a) of the Bankruptcy Code, the Holders of the Class 2 Claims are
entitled to vote to accept or reject this Plan.

                  2.    Class 3 – Allowed General Unsecured Claims.

                       a.       Unless such Holder agrees to other treatment (in which event, such
other agreement shall govern), each Holder of an Allowed Class 3 Claim shall be paid pro rata
from the Available Funds, to the extent funds are available and until such Claims are paid in full,
after all Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed PACA
Claims, Allowed PASA Claims, Allowed Priority Non-Tax Claims, Allowed Class 1 Claims, and
Allowed Class 2 Claims that exist against the Debtor have been paid in full. The Initial
Distribution Date shall be in the discretion of the Liquidating Trustee, who shall make it as soon
as reasonably practical after taking into the account the status of objections to claims and amount
of Disputed Claims, the amount of Available Funds, and the cost of making the Distribution.

                        b.      Claims in Class 3 are impaired under this Plan. Therefore,
pursuant to section 1126(a) of the Bankruptcy Code, the Holders of the Class 3 Claims are
entitled to vote to accept or reject this Plan.

                  3.    Class 4 – Interest in Debtor.

                       a.       The Interest of the sole Member of Debtor, and any instruments
and other documents evidencing such Interest, shall be cancelled. The Holder of Interest in
Class 4 shall not receive or retain any Distribution or other property on account of such Interest.

                       b.    Pursuant to section 1126(g) of the Bankruptcy Code, the Holder of
Interest in Class 4 is deemed to have rejected this Plan and is not entitled to vote to accept or
reject this Plan.

             D.   Effect of Confirmation

                  1.    Full and Final Satisfaction of Claims

        The treatment of Claims and Interests provided in the Plan shall be in full and final
satisfaction, settlement and discharge of all liabilities of Claims against, or Interests in the
Debtor. Except as provided in the Plan or the Confirmation Order, the rights afforded under the
Plan will be in exchange for and in complete satisfaction, discharge and release of all Claims and

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liabilities and termination of all Interests arising on or before the Effective Date, including any
interest accrued after the Filing Date.

               2.      Injunction

        Except as otherwise provided in the Plan, the Confirmation Order shall provide, among
other things, that from and after the Effective Date, all Persons who have held, hold, or may hold
Claims against the Debtor are permanently enjoined from taking any of the following actions
against the Debtor or its Estate, or any of its property on account of any such Claims or Interests:
(i) commencing or continuing, in any manner or in any place, any action or other proceeding; (ii)
enforcing, attaching, collecting or recovering in any manner any judgment, award, decree, or
order; (iii) creating, perfecting or enforcing any lien or encumbrance; (iv) asserting a setoff, right
of subrogation or recoupment of any kind against any debt, liability or obligation due to the
Debtor; and (v) commencing or continuing, in any manner or in any place, any action that does
not comply with or is inconsistent with the provisions of the Plan, provided, however, that
nothing contained in the Plan shall preclude such persons from exercising their rights pursuant to
and consistent with the terms of the Plan or the Confirmation Order.

     THE CONFIRMATION ORDER SHALL FURTHER PROVIDE THAT, WITH
THE EXCEPTION OF THE LIQUIDATING TRUSTEE AND HIS PROFESSIONALS,
ALL PERSONS ARE PERMANENTLY ENJOINED FROM OBTAINING ANY
DOCUMENTS OR OTHER MATERIALS FROM CURRENT COUNSEL FOR THE
DEBTOR THAT IS IN THE POSSESSION OF SUCH COUNSEL AS A RESULT OF OR
ARISING IN ANY WAY OUT OF THEIR REPRESENTATION OF THE DEBTOR.

               3.      Released Claims; Mutual Releases

        Section VI.C.2 of the Plan provides that the The Liquidating Trustee retains the right to
pursue any actions arising from or relating to any and all claims, obligations, rights, suits,
damages, causes of action, remedies and liabilities, whatsoever, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, existing or hereafter arising, in law, equity or otherwise, against the Debtor, any
Persons who served as directors, officers or management employees of the Debtor on or after the
Petition Date and each of their respective agents, employees, representatives, and professionals,
including Alvaraz & Marsal, James Grady, SSG Capital Advisors, LLC, and employees, the
Committee and its professionals, and the Liquidating Trustee and its professionals (collectively,
with each of their predecessors and successors in interest and their respective general and limited
partners, officers, directors, employees, agents, professionals and other representatives, the
"Bankruptcy Parties" or singly, a "Bankruptcy Party") based in whole or in part upon any act or
omission, transaction, agreement, event or other occurrence taking place on or before the
Effective Date, relating in any way to the Debtor, the Case, this Plan, the Disclosure Statement
(the foregoing referred to as the "Bankruptcy Case Actions" or singly, a "Bankruptcy Case
Action"); provided however, if the Committee or the Post Confirmation Committee fails to
commence a Bankruptcy Case Action against a Bankruptcy Party in a court of competent
jurisdiction on or before November 30, 2009 (the "Release Date"), the Bankruptcy Parties on the
one hand, and the Committee and the members thereof (solely in their capacity as such and not
with respect to their Claims as individual creditors), and each of their respective agents,

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employees, professionals, and representatives on the other hand (collectively, with each of their
predecessors and successors in interest and their respective general and limited partners, officers,
directors, employees, agents, professionals and other representatives, the "Released Parties"), for
good and valuable consideration, including, but not limited to, the commitment, obligation and
service of each of the aforementioned to facilitate the expeditious implementation of the
liquidation contemplated by this Plan, shall automatically be deemed to have released one
another unconditionally and forever from any and all claims, obligations, rights, suits, damages,
causes of action, remedies and liabilities, whatsoever, whether liquidated or unliquidated, fixed
or contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereafter arising, in law, equity or otherwise, that any of the foregoing Persons or entities would
have been legally entitled to assert (in their own right, whether individually or collectively, or on
behalf of the Holder of any Claim or Interest or other Person or entity), based in whole or in part
upon any act or omission, transaction, agreement, event or other occurrence taking place on or
before the Effective Date, relating in any way to the Debtor, the Case, this Plan, the Disclosure
Statement, except for any intentional acts of the past and present directors, officers and
management employees of the Debtor, professionals of the Debtor, the Holders of Claims or
Interests, which constitute fraud or willful misconduct if the party bringing the cause of action
(or its employees, agents, or advisors) did not have actual knowledge of such intentional acts as
of the Effective Date (the foregoing referred to as the "Released Actions"). If the Committee or
the Post Confirmation Committee commences a Bankruptcy Case Action against a Bankruptcy
Party in a court of competent jurisdiction on or before the Release Date, while that particular
Bankruptcy Case Action shall not be deemed to be released, foregoing release shall still be
deemed applicable to that Bankruptcy Party for all other claims and causes of actions
contemplated by this Section VI.C.5, and not otherwise timely prosecuted by the Committee or
the Post Confirmation Committee.

        As of the Effective Date, for good and valuable consideration, to the fullest extent
permissible under applicable law, the Holders of Claims or Interests, and each of their respective
agents, employees, professionals, and representatives, will be deemed to completely and forever
release, waive, void, extinguish, and discharge the Released Parties from all Released Actions
(other than the rights to enforce obligations created under the Plan, and any right or obligation of
such holder under the Plan, and the securities, contracts, instruments, releases, indentures, and
other agreements or documents delivered thereunder or contemplated thereby, including, without
limitation, the Plan and the Disclosure Statement).

             E.   Implementation of Plan

                  1.    Appointment.

        The Liquidating Trustee shall be appointed as of the Effective Date and shall serve
without a bond. In the event of the death, resignation, incapacity, disqualification, or misconduct
of the Liquidating Trustee, the Post Effective Date Committee shall appoint a successor. The
Liquidating Trustee shall retain and have all of the rights, powers and duties necessary to carry
out his responsibilities under this Plan, and those rights, powers and duties shall be exercisable
solely by the Liquidating Trustee. Commencing on the Confirmation Date, the Debtor shall
work with the Committee and the Liquidating Trustee to facilitate a smooth transition of the


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responsibility of the wind down of the Estate to the Liquidating Trustee, including being able to
make the payments on the Effective Date that are required by the Plan.

               2.     Duration.

      The Liquidating Trustee shall continue to serve until entry of a Final Order of the
Bankruptcy Court closing the Case pursuant to section 350(a) of the Bankruptcy Code.

               3.     Exclusive Powers and Duties

       The Liquidating Trustee shall serve under this Plan and shall discharge all of the rights,
powers and duties set forth in this Plan. Without limiting the generality of the foregoing, the
Liquidating Trustee, his successors and assigns, shall have the following exclusive rights, powers
and duties:

                       a.      All of the rights, powers, and duties of a trustee in bankruptcy,
including but not limited to, those under sections 704(a)(1), (2), (4), (5), (7) and (9) and
1106(a)(3),(6) and (7) of the Bankruptcy Code;

                      b.      to administer the Available Funds, pursuant to the terms of this
Plan;

                    c.     to use, acquire and dispose of property free of any restrictions
imposed under the Bankruptcy Code;

                       d.      to sell, devise or otherwise dispose of any Assets without further
notice or order of the Court, except as otherwise provided in the Plan;

                         e.   to employ, retain, and replace such persons, including actuaries,
attorneys, accountants, auctioneers, brokers, managers, consultants, other professionals, agents,
investigators, expert witnesses, consultants and advisors as necessary to discharge the duties of
the Liquidating Trustee under this Plan and to pay the reasonable fees and costs of such
employment without the need to seek approval from the Bankruptcy Court or review by any
other party in interest.

                      f.     Except as provided for in the C&S Claim Order with respect to the
C&S Claim, to object to the Allowance of Claims or seek equitable subordination of Claims,
pursuant to the terms of this Plan, and to settle any such objection to Claims without further
Order of the Court or notice to creditors or the Post Confirmation Committee, other than any
settlement of any claim filed by BI-LO or C&S (if the latter is prosecuted by the Liquidating
Trustee instead of Lone Star), which shall be subject to the approval of the Post Confirmation
Committee;

                      g.      to establish reserves and open, maintain and administer bank
accounts as necessary to discharge the duties of the Liquidating Trustee under this Plan;

                      h.    to investigate, analyze, commence, prosecute, litigate, collect and
otherwise administer the Causes of Action in the Bankruptcy Court or other court of competent

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jurisdiction and settle same without further order of the Court or notice to creditors or the Post
Confirmation Committee, other than any settlement of any Cause of Action in excess of
$1,000,000, which shall be subject to the approval of the Post Confirmation Committee;

                     i.     to voluntarily engage in arbitration or mediation with respect to
any Disputed Claims or Causes of Action;

                      j.      to represent the Estate before the Bankruptcy Court and other
courts of competent jurisdiction with respect to all matters;

                     k.     to seek the examination of any entity under and subject to the
provisions of Bankruptcy Rule 2004;

                       l.     to pay any fees due and owing under 28 U.S.C. § 1930;

                      m.      to comply with applicable orders of the Bankruptcy Court and any
other court of competent jurisdiction over the matters set forth herein;

                       n.     to comply with all applicable laws and regulations concerning the
matters set forth herein;

                       o.     to invest the Available Funds in (a) direct obligations of the United
States of America or obligations of any agency or instrumentality thereof which are guaranteed
by the full faith and credit of the United States of America, (b) in money market deposit
accounts, checking accounts, savings accounts or certificates of deposit, or other time deposit
accounts that are issued by a commercial bank or savings institution organized under the laws of
the United States of America or any state thereof, or (c) or any other investments that may be
permissible under section 345 of the Bankruptcy Code or order of the Bankruptcy Court;

                      p.      to exercise such other powers as may be vested in the Liquidating
Trustee pursuant to this Plan, the Confirmation Order or other Final Orders of the Bankruptcy
Court; and

                     q.       to execute any documents, instruments, contracts and agreements
necessary and appropriate to carry out the powers and duties of the Liquidating Trustee.

                      r.     to provide periodic reports to the Post Confirmation Committee at
a frequency to be agreed upon by the Liquidating Trustee and the Post Confirmation Committee

               4.      Fees and Expenses

        The Liquidating Trustee shall be reimbursed for all out of pocket fees, costs, and
expenses in acting under this Plan. The compensation of the Liquidating Trustee shall be a fixed
monthly fee to be agreed upon by the Committee and the Liquidating Trustee on or before ten
(10) days prior to the Confirmation Hearing and disclosed to the Bankruptcy Court on or before
the Confirmation Hearing. Compensation of the Liquidating Trustee and the costs and expenses
of the Liquidating Trustee (including, without limitation, professional fees and expenses) shall be
paid from the Available Funds. Without limitation of the foregoing, the Liquidating Trustee

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shall pay, without further order, notice or application to the Bankruptcy Court, the reasonable
fees and expenses of the Liquidating Trustee and the Liquidating Trustee's professionals as
necessary to discharge the Liquidating Trustee's duties under this Plan. The payment of fees and
expenses of the Liquidating Trustee shall be from Available Funds and be made in the ordinary
course of business and shall not be subject to the prior approval of the Bankruptcy Court or the
Post Confirmation Committee.

               5.      Compromising Disputed Claims, Liens, and Causes of Action.

        The Liquidating Trustee is authorized to: (i) compromise and settle any Causes of
Action, Liens, and Disputed Claims; and (ii) execute necessary documents, including a
stipulations of settlement or release, without notice or further order of the Bankruptcy Court or
notice to any party in interest, except that the approval of the Post Confirmation Committee shall
be required for any settlement of the Claims of Bi-Lo or C&S (if the Claim objected is
prosecuted by the Liquidating Trustee) or any Cause of Action in excess of $1,000,000 or against
Bi-Lo.

               6.      Post Confirmation Committee.

        The Post Confirmation Committee will become effective on the Effective Date. It will
establish bylaws for its operation and meet at such times as it deems necessary. It consult with
the Liquidating Trustee and its approval will be necessary as provided for in the Plan. If it
deems it necessary to retain professionals, including counsel, the bills for those professionals will
be submitted to the Liquidating Trustee will pay the reasonable and necessary fees and expenses
of those professionals from the Available Funds. If there is a dispute with respect to payment of
those fees and expenses, the Post Confirmation Committee can file an application with the
Bankruptcy Court to determine the matter.

               7.      Liquidation of Assets.

        Notwithstanding any other provision of the Plan, on the Effective Date or as soon as
practicable thereafter, the Liquidating Trustee (without further motion, notice or order of the
Bankruptcy Court, subject to the terms of the Plan), shall liquidate the Available Funds and
convert such Available Funds to Cash, on the terms and conditions set forth in the Plan and
distribute the Net Proceeds thereof in accordance with the Plan.

               8.      Distributions.

        The Liquidating Trustee shall liquidate the Assets of the Debtor in accordance with the
Plan and shall distribute the Net Proceeds thereof as follows: (a) first to pay the reasonable costs
and expenses of the Liquidating Trustee and his professionals (including professional fees)
incurred in administering, maintaining, and preserving the Available Funds and the liquidation of
the Assets of the Debtor (to the extent not otherwise paid pursuant to the Plan); and (b) second
Pro Rata to the Holders of Allowed Claims on the terms and conditions, and in the priority, set
forth in the Plan.




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                  9.    Retention and Enforcement of Claims and Causes of Action of the
Estate.

        All Claims, rights to payment, Causes of Action, cross-claims and counterclaims of the
Debtor or the Estate of any kind or nature whatsoever including, without limitation, Causes of
Action and Avoidance Actions, against third parties arising before the Confirmation Date that
have not been disposed of prior to the Effective Date shall be preserved and treated in
accordance with this Plan, for the benefit of the Estate as set forth in this Plan, except to the
extent released or enjoined by this Plan or pursuant to a Final Order.

        Furthermore, except as specifically released or enjoined by the Plan or pursuant to a Final
Order, the Liquidating Trustee is retaining for enforcement for the benefit of the Estate all
Avoidance Actions, including, but not limited to, against the following persons or entities: (a)
any person or entity who received a payment or property from the Debtor to or for their benefit
on account of an antecedent debt owed by the Debtor within ninety (90) days of the Filing Date,
including, but not limited to, those persons or entities identified in response to Question 3(a) on
Debtor’s Statement of Financial Affairs Filed with the Bankruptcy Court, (b) any insider of the
Debtor, as that term is defined by the Bankruptcy Code, who received a payment or property
from the Debtor to or for their benefit on account of an antecedent debt owed by the Debtor
within one year of the Filing Date and (c) any person or entity who received a transfer of
property from the Debtor within two years of the Filing Date. Regardless of whether or not you
are identified as a recipient of a payment of other transfer of property from the Debtor on the
Debtor Statement of Financial Affairs Filed with the Bankruptcy Court, you should nevertheless
assume that the Liquidating Trustee, for the benefit of the Estate, is reserving and retaining for
enforcement any and all Avoidance Actions that the Estate has or could have against you if you
did receive a payment or transfer of property from the Debtor within two years prior to the Filing
Date.

                                       ARTICLE VII.
                              Claims Resolutions and Distributions

             A.   Procedure for Determination of Claims.

               1.      Objections to Claims. After the Effective Date, the Liquidating Trustee
shall have exclusive authority and responsibility to prosecute objections to all Claims.

               2.      Disputed Claims. Payments or Distributions under this Plan on Account
of Disputed Claims shall be held in reserve pending the Allowance or disallowance of the Claim.
To the extent any property is distributed to an entity on account of a Claim that is not an Allowed
Claim, such property shall promptly be returned to the Liquidating Trustee. To the extent that a
Disputed Claim ultimately becomes an Allowed Claim, Distributions on account of such
Allowed Claim shall be made in accordance with the provisions of this Plan. On the Distribution
Date next following the date that the order or judgment of the Bankruptcy Court allowing such
Claim becomes a Final Order, any Cash held in reserve pursuant to this Plan that would have
been distributed prior to the date on which a Disputed Claim becomes an Allowed Claim shall be
distributed to the Holder of such Allowed Claim, together with any other Distributions that
would be due on account of such Claim being an Allowed Claim. The Liquidating Trustee shall

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reserve from any Distribution on account of Allowed Claims any amount otherwise allocable to a
Claim that is a Disputed Claim pursuant to Section VII.B.8 of this Plan.

             B.   Distributions.

                  1.     Distributions on Allowed Claims.

        Except as otherwise provided herein, Distributions to Holders of Allowed Claims shall be
made: (a) at the addresses set forth on the respective proofs of Claim Filed by such Holders; (b)
at the addresses set forth in any written notice of address change delivered to the Debtor or the
Liquidating Trustee, as applicable, after the date of the Filing of any related proof of claim; or (c)
at the address reflected in the Schedules or the Debtor's books and records if no proof of claim
has been Filed and if the Debtor or the Liquidating Trustee, as applicable, has not received
written notice of a change of address, as set forth herein. The distributions to Holders of
Allowed Claims shall be on the Initial Distribution Date and the subsequent Distribution Dates
on the terms and conditions of this Plan. Notwithstanding any other provision of the paragraph,
all Distributions to Holders of Claims shall be subject to the provisions of this Plan concerning
reserves for Disputed Claims.

                  2.     Undeliverable Distributions.

        If a Distribution is returned as undeliverable, the Liquidating Trustee shall hold such
Distribution and shall not be required to take any further action with respect to the delivery of the
Distribution unless and until the earlier of (a) the date on which the Liquidating Trustee, as
applicable, is notified in writing of the then current address of the holder entitled to receive the
Distribution and (b) three (3) months after said Distribution, except as the Bankruptcy Court may
otherwise order. If the Liquidating Trustee is notified in writing of the then current address of
the holder before three (3) months after said Distribution, the Liquidating Trustee shall make the
Distribution required by this Plan to the Holder at such address. If the Liquidating Trustee is not
so notified by three (3) months after said Distribution, and the Holder of the Claim does not
assert a right to the undeliverable Distribution within three (3) months after the Distribution, the
Holder shall be forever barred from asserting a Claim to such undeliverable Distribution and
future Distributions, and the undeliverable Distribution shall become available for Distribution to
Holders of other Allowed Claims as provided in the Plan.

                  3.     Manner of Payment.

       Distributions under the Plan may be made, at the option of the Liquidating Trustee, in
Cash, by wire transfer or by check drawn on such accounts established by the Liquidating
Trustee as necessary to effectuate the Plan.

                  4.     Interest.

        Unless otherwise required by Final Order of the Bankruptcy Court, interest shall not
accrue or be paid after the Filing Date on any Claims, and no Holder of a Claim shall be entitled
to interest accruing on or after the Filing Date on any Claim.

                  5.     De Minimis Distributions.

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      Whenever any payment of a fraction of a cent would otherwise be called for, the actual
payment shall reflect a rounding of such fraction to the nearest whole cent.

                       a.       Except with respect to the Convenience Class of Unsecured
Creditors, no interim Distribution will be made on account of any Allowed Claim if the amount
of such Distribution is less than $25.00.

                     b.       On the Final Distribution Date, the Liquidating Trustee shall (i)
aggregate the amount of all Distributions that would have been made on account of an Allowed
Claim in Class Three but for this de minimis provision and (ii) make a Distribution on account of
such Allowed Claim in accordance with the Plan.

            6.        Distributions on Claims Allowed Pursuant to Section 502(h) of the
Bankruptcy Code.

        Except as otherwise provided in this Plan, no Distributions shall be made on account of a
Claim arising as a result of a Final Order entered in an Avoidance Action until such Claim
becomes an Allowed Claim. Any Claim that is Allowed pursuant to § 502(h) of the Bankruptcy
Code prior to the Initial Distribution Date as a result of the entry of a Final Order in any
Avoidance Action will be treated in accordance with the provisions of this Plan. All Holders of
such Claims that become Allowed Claims after the Initial Distribution Date will receive an initial
distribution on the Distribution Date next following the date on which their Claim becomes an
Allowed Claim and shall receive subsequent Distributions, if any, in accordance with the
provisions of this Plan. Distributions under this Plan on account of anticipated Claims that may
arise or become allowable as a result of the entry of a Final Order in any Avoidance Action that
are not Allowed Claims as of the Initial Distribution Date may be held in reserve, at the
discretion of the Liquidating Trustee, pending the allowance or disallowance of such Claims.

               7.     Compliance with Tax Requirements.

        In compliance with section 346 of the Bankruptcy Code, to the extent applicable, the
Liquidating Trustee shall comply with all withholding and reporting requirements imposed by
federal, state or local taxing authorities in connection with making Distributions pursuant to this
Plan and shall be authorized to take any and all action necessary and appropriate to comply with
such requirements. As a condition to making any Distribution under this Plan, the Liquidating
Trustee may require the Holder of an Allowed Claim to provide such Holder's taxpayer
identification number, and such other information, certification or forms as necessary to comply
with applicable tax reporting and withholding laws. Notwithstanding any other provision of this
Plan, each entity receiving a Distribution of Cash pursuant to this Plan shall have sole and
exclusive responsibility for the satisfaction and payment of tax obligations imposed by any
governmental unit, including income, withholding and other tax obligations, on account of such
Distribution.

               8.     Reserve for Disputed Claims.

       Except as otherwise provided in this Plan, no Distributions shall be made on account of a
Disputed Claim until such Claim becomes an Allowed Claim. In making any Distribution on
Allowed Class 2 or 3 Claims, the Liquidating Trustee shall calculate the amount of such
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Distribution (for purposes of making a Pro Rata calculation) as if each Disputed Claim were an
Allowed Claim, unless the Bankruptcy Court enters an order specifying that the Disputed Claim
should be treated as being a different amount for purposes of such calculation. The Liquidating
Trustee shall reserve from Distributions a sufficient amount to make a Distribution on a Disputed
Claim in the event it becomes an Allowed Claim (unless the Bankruptcy Court orders otherwise);
and to the extent a Disputed Claim is disallowed pursuant to a Final Order, any reserves
attributable to the disallowed portion of the Disputed Claim shall be distributed on account of
Allowed Claims pursuant to the terms of this Plan.

                  9.    Setoffs.

        Subject to section 553 of the Bankruptcy Code, in the event the Debtor has a Claim of
any nature whatsoever against a Holder of a Claim, the Liquidating Trustee may, but is not
required to, set off or recoup the Debtor's Claim against such Claim (and any Distributions or
other rights to receive property arising out of such Claim under this Plan) unless any such claim
of the Debtor is or will be released under this Plan. Neither the failure to set off nor the
allowance of any Claim under this Plan shall constitute a waiver or release of any Claim of the
Debtor.

                  10.   Reliance on Claims Register.

        In making Distributions under this Plan, the Liquidating Trustee may rely upon the
accuracy of the claims register maintained by the Bankruptcy Court or its designee as claims
agent in the Case, as modified by any Final Order of the Bankruptcy Court disallowing Claims in
whole or in part.

                                        ARTICLE VIII.
                                   Other Provisions of the Plan

             A.   Treatment of Executory Contracts and Unexpired Leases

        Pursuant to section 1123(b)(2) of the Bankruptcy Code, all executory contracts and
unexpired leases to which the Debtor is or was a party and not previously rejected or assumed
and assigned pursuant to prior order of the Bankruptcy Court, are deemed rejected pursuant to
section 365(a) of the Bankruptcy Code as of the Confirmation Date.

        Each party to an executory contract or unexpired lease rejected pursuant to the Plan (and
only such entities) asserting a Claim for damages arising from such rejection shall File, not later
than thirty (30) days following the Confirmation Date, a proof of such Claim; provided, however,
that (1) the Bar Date established for rejection damages claims in this Section IV of the Plan shall
not apply to Persons that may assert a Claim on account of an executory contract or unexpired
lease that was rejected by the Debtor before the Confirmation Date for which a prior Bar Date
was established; and (2) any Person asserting a claim for rejection damages that does not timely
File a proof of claim in accordance with the Plan shall be forever enjoined and barred from
asserting such Claim against the Debtor, the Estate or any property of the Estate.




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             B.   Effective Date

        The Plan will not become effective and operative unless and until the Effective Date
occurs. The Effective Date will occur after, and only after (a) the Confirmation Order has been
entered and become a Final Order, and provides that the Liquidating Trustee is authorized and
directed to take all actions necessary or appropriate to enter into, implement and consummate the
contracts, instruments, releases, leases, indentures and other agreements or documents created in
connection with the Plan or effectuate, advance or further the purposes thereof; (b) all Plan
Exhibits shall be, in form and substance, reasonably acceptable to the Debtor and shall have been
executed and delivered by all parties' signatory thereto; (c) the Liquidating Trustee shall be
authorized and directed to take all actions necessary or appropriate to enter into, implement and
consummate the contracts, instruments, releases, leases, indentures and the agreements or
documents created in connection with the Plan; (d) all other actions, documents, and agreements
necessary to implement the Plan shall have been effected or executed; and (e) Available Funds
shall be sufficient to make all required payments on the Effective Date and fund a reserve for
such payments if not Allowed as of the Effective Date.

        Each of the conditions precedent to the Effective Date as set forth in Section V of the
Plan may be waived in whole or in part by the Debtor. The failure of a party to exercise any of
the foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
deemed an ongoing right that may be asserted at any time.

             C.   Consequences Of Non-Occurrence Of Effective Date

       In the event that the Effective Date does not timely occur, the Debtor and the Committee
reserve all rights to seek an order from the Bankruptcy Court directing that the Confirmation
Order be vacated, that the Plan be null and void in all respects, and/or that any settlement of
Claims provided for in the Plan be null and void. In the event that the Bankruptcy Court shall
enter an order vacating the Confirmation Order, the time within which the Debtor may assume
and assign, or reject all executory contracts and unexpired leases not previously assumed,
assumed and assigned, or rejected, shall be extended for a period of thirty (30) days after the date
the Confirmation Order is vacated, without prejudice to further extensions

             D.   Retention of Jurisdiction

        Under the Plan, following the Effective Date, the Bankruptcy Court shall retain such
jurisdiction as is set forth in the Plan. Without limitation, the Bankruptcy Court shall retain
jurisdiction for the following purposes:

        1.      Allow, disallow, determine, liquidate, classify, estimate or establish the priority or
secured or unsecured status of any Claim or Interest, including the resolution of any request for
payment of any Administrative Expense Claim, the resolution of any objections to the Allowance
or priority of Claims or Interests and the determination of requests for the payment of claims
entitled to priority under section 507(a)(1) of the Bankruptcy Code, including compensation of
any reimbursement of expenses of parties entitled thereto;




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       2.      Hear and determine all applications for compensation and reimbursement of
expenses of professionals under the Plan or under sections 330, 331, 503(b), 1103, and
1129(a)(4) of the Bankruptcy Code;

        3.    Hear and determine all matters with respect to the assumption or rejection of any
executory contract or unexpired lease to which the Debtor is a party or with respect to which the
Debtor may be liable, and to hear, determine and, if necessary, liquidate any Claims arising
therefrom;

             4.   Effectuate performance of and payments under the provisions of the Plan;

       5.       Hear and determine any and all adversary proceedings, motions, applications and
contested or litigated matters arising out of, under or related to the Case or the Plan;

      6.      Enter such orders as may be necessary or appropriate to execute, implement or
consummate the provisions of the Plan and all contracts, instruments, releases and other
agreements or documents created in connection with the Plan, the Disclosure Statement or the
Confirmation Order;

      7.      Hear and determine disputes arising in connection with the interpretation,
implementation, consummation or enforcement of the Plan, including disputes arising under
agreements, documents or instruments executed in connection with the Plan;

       8.      Consider any modifications of the Plan and any implementing documents, cure
any defect or omission or reconcile any inconsistency in any order of the Bankruptcy Court,
including, without limitation, the Confirmation Order;

      9.     Issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any entity with implementation,
consummation, or enforcement of the Plan or the Confirmation Order;

      10.    Enter and implement such orders as may be necessary or appropriate if the
Confirmation Order is for any reason reversed, stayed, revoked, modified or vacated;

       11.    Hear and determine any matters arising in connection with or relating to the Plan,
the Disclosure Statement, the Confirmation Order or any contract, instrument, release or other
agreement or document created in connection with the Plan, the Disclosure Statement or the
Confirmation Order;

      12.     Enforce all orders, judgments, injunctions , releases, exculpations, rulings and
indemnifications entered in connection with the Case;

       13.     Except as otherwise limited by the Plan, recover all assets of the Debtor and
property of the Estate, wherever located;

       14.    Hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code;


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       15.    Hear and determine all matters related to the property of the Estate from and after
the Confirmation Date;

       16.    Hear and determine the Causes of Action, unless the Liquidating Trustee
determines, in his sole discretion, to commence an action or proceeding in another court of
competent jurisdiction;

        17.    Hear and determine all disputes involving the existence, nature or scope of the
injunctions indemnification, exculpation and releases granted pursuant to the Plan;

        18.     Hear and determine all disputes or other matters arising in connection with the
interpretation, implementation or enforcement of the Asset Sales;

        19.   Hear and determine all matters related to (i) the property of the Estate from and
after the Confirmation Date, (ii) the winding up of the Estate and (iii) the activities of the
Liquidating Trustee, including (A) challenges to or approvals of his activities, where required
under the Plan (B) resignation, incapacity or removal of the Liquidating Trustee, (C) reporting
by, termination of and accounting by Liquidating Trustee and (D) release of the Liquidating
Trustee from his duties;

             20.   Hear and determine disputes with respect to compensation of professionals;

        21.    Hear and determine all disputes involving the existence, nature and/or scope of
the injunctions and releases provided by the Plan including any dispute relating to any liability
arising out of any termination of employment or the termination of any employee or retiree
benefit provision, regardless of whether such termination occurred prior to or after the Effective
Date;

       22.    Hear and determine such other matters as may be provided in the Confirmation
Order or as may be authorized under, or not inconsistent with, provision of the Bankruptcy Code;

             23.   Enforce all orders previously entered by the Bankruptcy Court; and

             24.   Enter a final decree closing the Case

             E.    Modifications and Amendments

        The Plan Proponent may alter, amend or modify the Plan pursuant to section 1127(a) of
the Bankruptcy Code at any time prior to the Confirmation Date. After Confirmation Date and
prior to the substantial consummation of the Plan, as defined in section 1101(2) of the
Bankruptcy Code, the Plan Proponent may, pursuant to section 1127(b) of the Bankruptcy Code,
institute proceedings in Bankruptcy Court to remedy any defect or omission or to reconcile any
inconsistencies in the Plan, the Disclosure Statement or the Confirmation Order and any other
matters as may be necessary to carry out the purposes and effects of the Plan; so long as such
proceedings do not adversely affect the treatment of Holders of Claims or provided, however,
that prior notice of such proceedings shall be served in accordance with Bankruptcy Rule 2002
or order of the Bankruptcy Court.


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                                        ARTICLE IX.
                                 PLAN CONFIRMATION PROCESS

             Under the Bankruptcy Code, the following steps must be taken to confirm the Plan:

             A.     Acceptance Of Plan By Voting

                    1.     Approval of Disclosure Statement

        After notice and a hearing held on                       , 2009 by order dated
                , 2009 pursuant to Bankruptcy Code § 1125, the Bankruptcy Court approved this
Disclosure Statement as containing information of a kind, and in sufficient detail, that would
enable a hypothetical reasonable investor typical of holders of Claims to make an informed
judgment whether to accept or reject the Plan. The Bankruptcy Court's approval of this
Disclosure Statement, however, does not constitute a determination by the Bankruptcy Court as
to the fairness or merits of the Plan.

        Each holder of a Class 2 Claim or Class 3 Claim is entitled to vote on the Plan and should
carefully read this Disclosure Statement and the Plan in their entirety before voting on the Plan.

                    2.     Voting on the Plan

                           a.     Who May Vote

        Pursuant to Bankruptcy Code § 1126, holders of Allowed Claims may vote to accept or
reject the Plan, provided, however, that (i) the holders of Claims in classes that are not impaired
under the Plan conclusively are presumed to have accepted the Plan and solicitation of
acceptances with respect to such classes is not required, and (ii) a class is deemed not to have
accepted the Plan if the Plan provides that the Claims or Interests in such class do not entitle the
holders of such Claims or Interests to receive or retain any property under the Plan on account of
such Claims or Interests. Accordingly, the Debtor are soliciting acceptance of the Plan only
from holders of Claims in Classes 2 and 3 which are "impaired" under the Plan and are entitled
to accept or reject the Plan.

        Because holders of Interests in Class 4 shall not receive or retain any Distribution or
other property on account of such Interests, they are deemed to have rejected the Plan and are not
entitled to vote to accept or reject the Plan.

                    3.     Deadline for Voting

       After reviewing the Plan and the Exhibits hereto, please indicate your vote on the
enclosed Ballot and return it either by overnight courier or regular mail to the Voting Agent at
the address specified in the Ballot and below. Holders of Claims in Classes entitled to vote
should read the Ballot carefully and follow the instructions contained therein. BALLOTS
SUBMITTED TO THE VOTING AGENT BY FAX OR OTHER ELECTRONIC
TRANSMISSION WILL NOT BE ACCEPTED AND WILL BE VOID.



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Holders of Claims in Classes 2 and 3 should complete and sign the enclosed Ballot and
deliver it to the Voting Agent at the following address:

Bruno's Supermarkets, LLC
c/o Kurtzman Carson Consultants, LLC
2335 Alaska Avenue, El Segundo, California 90245
Attn: James Le

With a copy to:
      Burr & Forman LLP
      420 North 20th Street, Suite 3400
      Birmingham, Alabama 35203
      Attn: Derek Meek

And:

FOR YOUR VOTE TO COUNT, YOUR BALLOT MUST BE RECEIVED BY THE
VOTING AGENT DESIGNATED ABOVE AT THE SPECIFIED ADDRESS NO LATER
THAN 5:00 P.M. PREVAILING CENTRAL TIME ON [________] (THE "VOTING
DEADLINE").

IF YOU MUST RETURN YOUR BALLOT TO A TRUSTEE, BANK, BROKER, AGENT
OR SIMILAR ENTITY, YOU MUST RETURN YOUR BALLOT TO IT IN SUFFICIENT
TIME FOR IT TO PROCESS THE BALLOT AND RETURN IT TO THE VOTING
AGENT BY THE VOTING DEADLINE.

To obtain additional Ballots, you may contact the Voting Agent at the addresses specified above.
You may also obtain copies of the Plan, Disclosure Statement and other related documents at
http://www.kccllc.net/brunos.

The Plan Proponent has concluded that confirmation of the Plan is in the best interest of the
Debtor, all Holders of Claims and the Debtor's Estate.

             B.   Confirmation

        At the Confirmation Hearing, the Bankruptcy Court shall confirm the Plan if the Plan
satisfies all requirements of Bankruptcy Code § 1129(a). The requirements for confirmation of
the Plan under Bankruptcy Code § 1129(a) include the following: (1) the Plan must be accepted
by all impaired classes, (2) the Plan must be feasible, and (3) with respect to each holder of a
Claim or Interest that does not vote to accept the Plan (even if such holder is a member of a Class
that as a whole votes to accept the Plan), the Plan must be in the "best interest" of such holder in
that the Plan provides for a Distribution to the holder that is not less than the amount such holder
would receive in a hypothetical Chapter 7 liquidation of the Debtor.

        With respect to the requirement that each impaired class votes to accept the Plan,
Bankruptcy Code § 1129(b) provides that if all other requirements of Bankruptcy Code § 1129(a)
are satisfied, the Plan still may be confirmed if the Plan, with respect to each impaired class that
does not accept the Plan, "does not discriminate unfairly" and is "fair and equitable" with respect

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to such Class. The acceptance, feasibility, unfair discrimination and fair and equitable concepts
are discussed in more detail below.

        For the Plan to be accepted by an impaired class of Claims or Interest, it must be accepted
by holders of Claims or Interest in such Class that hold at least two-thirds in dollar amount and
one-half in number of the Claims or Interest in such Class held by creditors that actually vote. A
Class or Interest is impaired if the legal, equitable, or contractual rights of the members of such
Class or Interest are modified or altered by the Plan (with an exception, not applicable to the
Plan, for curing defaults, reinstating maturity and compensating certain damages). Class 2 and
Class 3 are impaired. Unimpaired Classes are conclusively presumed to have accepted the Plan
and are not part of the vote solicitation process. Class 4 is unimpaired under the Plan and is not
entitled to vote.

        If all Classes of Claims are unimpaired but a Class of Interests is impaired and does not
accept the Plan, the Debtor may seek confirmation of the Plan under the "cramdown" provisions
of Bankruptcy Code § 1129(b). To obtain confirmation despite non-acceptance by one or more
impaired classes, the Debtor must show to the Bankruptcy Court that the Plan does not
discriminate unfairly and is fair and equitable with respect to each such Class. Each of these
requirements is discussed further, as follows:

                  1.     Unfair Discrimination

        A Plan does not discriminate unfairly with respect to a non-accepting Class if it protects
the rights of such Class in a manner consistent with the treatment of other Classes with similar
rights. The unfair discrimination test does not require that similarly situated Classes be treated in
exactly the same way. The test requires that such Classes be treated substantially similarly or, if
not treated substantially similarly, that differences in treatment be fair.

                  2.     Fair And Equitable Test

       In the event any impaired class of Claimants does not accept the Plan, the Debtor must
demonstrate to the Bankruptcy Court, as to each nonaccepting Class that the Plan "does not
discriminate unfairly" and is "fair and equitable" with respect to that Class. A Plan does not
discriminate unfairly if no Class receives more than it is entitled to for its Claims. The
Bankruptcy Code establishes "fair and equitable" tests for unsecured creditors as follows:

                  Unsecured Creditors: Either (i) each impaired unsecured creditor
                  receives or retains under the Plan property of a value equal to the
                  amount of its Allowed Claim, or (ii) the holders of Claims that are
                  junior to the Claims of the dissenting Class will not receive any
                  property under the Plan.

             C.   Best Interest Test

        Before the Bankruptcy Court will confirm the Plan, the Plan must meet the best interest
test. The best interest test requires that with respect to each impaired class of creditors under the
Plan, each Claimant either (a) has accepted the Plan; or (b) will receive or retain under the Plan
on account of its Claim property of a value, as of the Effective Date of the Plan, that is not less

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than the amount such Claimant would receive or retain if the Debtor were liquidated under
Chapter 7 of the Bankruptcy Code. In other words, if one or more Claimants that are members
of an impaired class vote to reject the Plan, the Court will confirm the Plan only if the
Distribution to such Claimants under the Plan is not less than the Distribution that the Claimants
would receive under a Chapter 7 liquidation of the Debtor.

        Based upon several factors present in the Debtor's Bankruptcy Case, the Debtor believes
that the Plan meets the best interest test. Considering the liquidation value of the Debtor's assets,
the Liens and security interests of secured creditors, the cost of liquidation under Chapter 7, and
the adverse impact that a liquidation under Chapter 7 would have on the going concern value of
the Debtor's assets, the Debtor believes that the Plan provides for a larger Distribution to
individual unsecured creditors than under a Chapter 7 liquidation of the Debtor.

       To determine if the Plan is in the best interest of each impaired class, the Bankruptcy
Court will compare the present value of the Distributions from the proceeds of the liquidation of
the Debtor's assets and properties (after subtracting the amounts attributable to the Secured
Claims discussed above) with the present value offered to each of the Classes of Unsecured
Claims under the Plan. The Distributions from the liquidation proceeds would be calculated Pro
Rata according to the amount of the Claim held by each creditor.

       After considering the effects that a Chapter 7 liquidation would have on the ultimate
proceeds available for Distribution to creditors in the present case, including the costs and
expenses of liquidation under Chapter 7, the uncertainties inherent in a Chapter 7, and the
adverse affect that a Chapter 7 would have on the value of certain of the Debtor's assets, the
Debtor has determined that a Chapter 7 liquidation would not pay creditors in full. Debtor
believes the value of any Distribution from the liquidation proceeds in a Chapter 7 would be less
than the value of the Distribution under the Plan due to efficiencies provided by having a
Liquidating Trustee.

       Based on the foregoing analysis and given the elimination of uncertainties inherent under
Chapter 7, the Debtor believes the confirmation of the Chapter 11 Plan will provide each
Claimant with greater recovery than such Claimant would receive pursuant to a liquidation of the
Debtor under Chapter 7 of the Bankruptcy Code. Accordingly, the Debtor submits that the Plan
meets the best interest test.

             D.   Acceptance

        Each impaired class of Claimants must accept the Plan or the "Fair and Equitable Test"
described above must be met with respect to each impaired class that does not accept the Plan by
the requisite vote.

             E.   Consummation

       The Plan provides that the Plan shall be deemed to be substantially consummated when
the Liquidating Trustee makes the Initial Distribution.

      The Plan is to be implemented pursuant to the provisions of the Bankruptcy Code.
Implementation requires an order of the Bankruptcy Court confirming the Plan.

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                                     ARTICLE X.
                      ALTERNATIVES TO CONFIRMATION OF THE PLAN

        If the Plan is not confirmed and consummated, the theoretical alternatives include: (a)
liquidation of the Debtor under Chapter 7 of the Bankruptcy Code; or (b) an alternative plan of
reorganization.

             A.     Liquidation Under Chapter 7

       If the Bankruptcy Court does not confirm a plan of reorganization, the Court may convert
the Debtor's case to a case under Chapter 7 of the Bankruptcy Code. Under Chapter 7, a trustee
would be elected or appointed to liquidate the assets of the Debtor for Distribution to creditors in
accordance with the priorities established by the Bankruptcy Code. Without limitation, secured
and priority Claims would be paid in full before any Distribution to general unsecured creditors.
As virtually all of the Debtor's assets are encumbered, the Debtor believes that liquidation of the
Debtor's assets under Chapter 7 would result in fewer Distributions to unsecured creditors than
under the Plan. Having one Liquidating Trustee oversee the liquidating of the Debtor's assets
through the structure provided by the Plan will provide efficiency to the process.

             B.     Alternative Plan of Reorganization

       If the Plan is not confirmed, creditors may elect to vote for other plans which may be
proposed later. However, given the liquidating of the Debtor's stores and the status of the
economy, Debtor does not believe that it can effectively reorganize under any plan not involving
the complete liquidation of the Debtor's assets.

                                          ARTICLE XI.
                                       RECOMMENDATION

        The Debtor believes that the confirmation and implementation of the Plan is preferable to
the alternative described above because the Plan will provide greater recoveries to all claimants
than those available in a Chapter 7 liquidation. In addition, any other alternative plan would
probably not be feasible and would involve significant delay, uncertainty, and substantial
additional administration. Accordingly, the Debtor recommends that all parties entitled to vote
on the Plan accept the Plan and that the Court confirm the Plan.

             Dated: June 19, 2009

                                                         Respectfully submitted,


                                                         /s/ Derek F. Meek
                                                         Robert B. Rubin
                                                         Derek F. Meek
                                                         Marc P. Solomon

                                                         BURR & FORMAN LLP
                                                         420 North 20th Street, Suite 3400

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                                         Birmingham, Alabama 35283-0719
                                         Phone:       (205) 251-3000
                                         Facsimile:   (205) 458-5100

                                         Attorneys for Debtor




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                                  Exhibit A

      DEBTOR'S PLAN UNDER CHAPTER 11 OF THE BANKRUPTCY CODE




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION



In re:                                         )   Chapter 11
                                               )
BRUNO'S SUPERMARKETS, LLC,                     )   Case No. 09-00634
                                               )
Debtor.                                        )
                                               )



                             DEBTOR'S PLAN OF LIQUIDATION

 Robert B. Rubin
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 Counsel for Debtor and Debtor-in-Possession




 June 19, 2009




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                                        INTRODUCTION

        Bruno's Supermarkets, LLC ("Bruno's" or "Debtor") hereby proposes this Plan of
Liquidation (the "Plan") to resolve claims against, and interests in Debtor. Debtor is the proponent
of this Plan within the meaning of section 1129 of the United States Bankruptcy Code, as amended
("Bankruptcy Code").

        This is a liquidating plan. Substantially all of Debtor's assets have been sold. This Plan
provides liquidation and conversion to Cash of Debtor's remaining Assets and the Distribution of
the net proceeds realized therefrom by a Liquidating Trustee to Debtor's Creditors holding Allowed
Claims in accordance with the provisions established by the Bankruptcy Code. This Plan further
provides for the dissolution and wind up of the affairs of Debtor.

       For a discussion of Debtor's history, businesses, operations, assets and financial
information, and for a summary and analysis of this Plan, all parties entitled to vote on this Plan
should consult the Disclosure Statement accompanying this Plan, including the Exhibits thereto
(the "Disclosure Statement").

       No solicitation materials other than the Disclosure Statement and related materials
transmitted therewith have been approved for use in soliciting acceptances and rejections of this
Plan. Nothing in this Plan should be construed as constituting a solicitation of acceptances of this
Plan unless and until the Disclosure Statement has been approved and distributed to all holders of
Claims and Interests to the extent required by 11 U.S.C. § 1125.

                  NO CREDITOR OR OTHER PARTY IN INTEREST SHOULD
                  CONSIDER THIS PLAN BINDING ON ANY PARTY IN THE
                  ABOVE-CAPTIONED CASES UNTIL CONFIRMED, AS THIS
                  PLAN IS SUBJECT TO AMENDMENT AND MAY BE REVISED.
                  NO ASSURANCE CAN BE GIVEN THAT ANY DISTRIBUTION
                  WILL BE MADE ON THE TERMS SET FORTH IN THIS PLAN.

       All holders of Claims entitled to vote on this Plan are encouraged to read carefully the
Disclosure Statement and this Plan, each in its entirety, before voting to accept or reject this Plan.

                                     SECTION I.
                      DEFINITIONS AND RULES OF INTERPRETATION

A.           DEFINITIONS.

     FOR PURPOSES OF THIS PLAN, EXCEPT AS EXPRESSLY PROVIDED HEREIN OR
UNLESS THE CONTEXT OTHERWISE REQUIRES, ALL CAPITALIZED TERMS NOT
OTHERWISE DEFINED SHALL HAVE THE MEANINGS ASCRIBED TO THEM IN
SECTION 1 OF THIS PLAN OR ANY EXHIBIT HERETO. ANY TERM USED IN THIS PLAN
AND NOT HEREIN DEFINED BUT DEFINED IN THE BANKRUPTCY CODE OR IN THE
BANKRUPTCY RULES SHALL HAVE THE MEANING ASSIGNED TO SUCH TERM IN
THE BANKRUPTCY CODE OR IN THE BANKRUPTCY RULES, AS APPLICABLE. AS
USED IN THIS PLAN, THE FOLLOWING TERMS HAVE THE RESPECTIVE MEANINGS
SPECIFIED BELOW:


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        1.      Administrative Expense Claim means an Allowed Claim against the Debtor for
costs and expenses of administration in connection with the Case under sections 503(b), 507(b) or
1114(e)(2) of the Bankruptcy Code, including: (a) any actual and necessary costs and expenses
incurred after the Filing Date of preserving the Estate and operating the businesses of the Debtor
(such as wages, salaries or commissions for services and payments for goods and other services and
leased premises); (b) all Bankruptcy Administrator fees and charges assessed against the Debtor's
Estate, but excluding Claims relating to tax periods; or portions thereof, ending on or before the
Filing Date; (c) Allowed Goods Claims; (d) Fee Claims; and (e) all other Claims entitled to
administrative claim status pursuant to a Final Order.

       2.      Allowed means, with reference to any Claim or Interest and with respect to the
Debtor, (a) any Claim against or Interest in the Debtor that (i) has been listed by the Debtor in the
Schedules, as may be amended by the Debtor from time to time in accordance with Bankruptcy
Rule 1009, as liquidated in amount and not disputed or contingent and for which no contrary proof
of claim or interest has been Filed, or (ii) has been allowed under this Plan, or (iii) has been
allowed by Final Order of the Bankruptcy Court, or (iv) as to which a proof of claim has been
timely Filed in a liquidated amount with the Bankruptcy Court pursuant to the Bankruptcy Code or
any order of the Bankruptcy Court, or Filed late with leave of the Bankruptcy Court after notice
and a hearing, and (b) in respect of which no objection to the allowance of such Claim or Interest
has been interposed within any applicable period of limitation fixed by the Bankruptcy Code, the
Bankruptcy Rules, a Final Order or other applicable law.

             3.   Assets means all property of the Estate that is not Collateral.

      4.     Asset Sale means any sale of the assets of the Debtor which was approved by the
Bankruptcy Court pursuant to section 363 of the Bankruptcy Code.

       5.      Available Funds means the amount of Cash held by the Liquidating Trustee
available to be distributed to Holders of Allowed Claims, Administrative Claims and the fees and
expenses of the Liquidating Trustee and his professionals, including, but not limited to, the
proceeds of the liquidation of the Assets, which also includes the recoveries and proceeds of
Causes of Action.

        6.     Avoidance Action means any claim, action or cause of action of the Debtor or the
Estate, or either of them, that is or may be the subject of an adversary proceeding or contested
matter under sections 510, 541, 542, 543, 544, 545, 546, 547, 548, 549, 550, 551, and/or 553 of the
Bankruptcy Code, or pursuant to any similar or related state or federal statutes or common law
(including fraudulent transfer laws) whether or not litigation has been commenced as of the
Confirmation Date to prosecute such claim, action or cause of action.

        7.     Ballot means each of the ballot forms distributed to each Holder of a Claim entitled
to vote to accept or reject this Plan.

        8.     Bankruptcy Administrator means the Bankruptcy Administrator for the Northern
District of Alabama.

             9.   Bankruptcy Case Action has the meaning set forth in Section VI.C.5 of this Plan.



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        10.    Bankruptcy Code means Title 11 of the United States Code, 11 U.S.C. §§ 101, et
seq. as applicable to this Case.

        11.    Bankruptcy Court means the United States Bankruptcy Court for the Northern
District of Alabama, Northern Division or, in the event that such court ceases to exercise
jurisdiction over the Case, the court that exercises jurisdiction over the Case in lieu of the United
States Bankruptcy Court for the Northern District of Alabama, Northern Division.

             12.   Bankruptcy Party has the meaning set forth in Section VI.C.5 of this Plan.

      13.    Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, as
promulgated by the United States Supreme Court under 28 U.S.C. § 2075, and the local rules of the
Bankruptcy Court as applicable to this Case.

       14.     Bar Date means the date(s) established by this Plan or by a Final Order of the
Bankruptcy Court as the final date(s) to file proofs of claim, requests for allowance of an
Administrative Expense Claim, or any other notice, objection or other document to evidence,
support or seek Allowance of any Claim.

       15.    BI-LO means BI-LO, LLC and its affiliates in their jointly administered bankruptcy
cases under Case No. 09-02140, pending in the U.S. Bankruptcy Court, District of South Carolina.

             16.   Business Day means any day other than a Saturday, Sunday or Legal Holiday.

             17.   C&S means C&S Wholesale Grocers, Inc. and its affiliates.

       18.     C&S Claim Objection Order means the Order entered by the Bankruptcy Court on
May 5, 2009, docket #823, entitled "Agreed Order Approving Agreement Between Official
Committee of Unsecured Creditors, Lone Star Fund V (U.S.), LP and BI-LO, LLC Relating to Sale
of Debtor's Assets."

             19.   Case means the above styled case of the Debtor under Chapter 11 of the Bankruptcy
Code.

             20.   Cash means cash and cash equivalents in United States dollars.

        21.    Causes of Action means all Claims and causes of action now owned or hereafter
acquired by the Liquidating Trustee or Estate, or either of them, or which may be maintained by the
Liquidating Trustee or the Estate, or either of them, for the benefit of creditors, whether arising
under any contract or under the Bankruptcy Code or other federal or state law, including, without
limitation, any causes of action set forth in this Plan or Disclosure Statement and any Exhibit
thereto and Avoidance Actions, but excluding (a) Claims and causes of action and related
recoveries sold to a buyer pursuant to any Asset Sale; and (b) Claims and causes of action and
related recoveries expressly released, exculpated or waived pursuant to this Plan.

             22.   Claim has the meaning set forth in section 101(5) of the Bankruptcy Code.




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        23.        Class means a category of Holders of Claims or Interests as set forth in Section II of
this Plan.

       24.     Collateral means property subject to a Lien, to the extent of the interest of the
holder of such Lien in the interest of the Estate in such property.

      25.    Committee means the Official Committee of Unsecured Creditors appointed by the
Bankruptcy Administrator in the Case pursuant to section 1102(a) of the Bankruptcy Code.

       26.     Confirmation means entry of the Confirmation Order on the Bankruptcy Court's
docket in the Case.

      27.    Confirmation Date means the date of entry of the Confirmation Order on the
Bankruptcy Court's docket in the Case.

       28.    Confirmation Hearing means the hearing held by the Bankruptcy Court to consider
confirmation of this Plan pursuant to section 1129 of the Bankruptcy Code, as such hearing may be
adjourned or continued from time to time.

       29.     Confirmation Order means the order of the Bankruptcy Court confirming this Plan
pursuant to section 1129 of the Bankruptcy Code.

             30.   Creditor means any Person who holds a Claim against the Debtor.

             31.   Debtor means BFW Liquidation, LLC, f/k/a Bruno's Supermarket, LLC.

        32.     Disclosure Statement means the disclosure statement that relates to this Plan,
approved by the Court pursuant to section 1125 of the Bankruptcy Code, as such Disclosure
Statement may be amended, modified, or supplemented (and all exhibits and schedules annexed
thereto or referred to therein).

             33.   Disputed Claim means a Claim against the Debtor that is not Allowed, including:

       (a)      if no proof of claim has been filed by the applicable Bar Date or has otherwise been
deemed timely Filed under applicable law: (i) a Claim that is listed on the Schedules as disputed,
contingent or unliquidated; or (ii) a Claim that is listed on the Schedules as other than disputed,
contingent or unliquidated, but as to which the Debtor or Liquidating Trustee, as applicable, or any
other party in interest with standing to object to Claims under this Plan or applicable law, has Filed
an objection by the Claims Objection Deadline, unless such objection has been withdrawn or
denied by a Final Order; or

        (b)    if a proof of claim or request for payment of an Administrative Expense Claim has
been Filed by the applicable Bar Date or has otherwise been deemed timely Filed under applicable
law: (i) a Claim for which a corresponding Claim is listed on the Schedules as disputed, contingent
or unliquidated; or (ii) a Claim for which an objection has been Filed by the Debtor or Liquidating
Trustee, as applicable, to which the claim relates, or any other party in interest with standing to
object to Claims under this Plan or applicable law, by the Claims Objections Deadline, unless such
objection has been withdrawn or denied by a Final Order. For purposes of this provision, an


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application, motion, complaint or other pleadings or papers filed with the Bankruptcy Court
seeking to subordinate or dismiss a Claim or Administrative Expense Claim shall be deemed an
objection thereto; or

             (c)   any Claim filed after the Bar Date applicable to such Claim.

       34.         Distribution means any distribution pursuant to this Plan to the Holders of Allowed
Claims.

       35.    Distribution Date means any date on which a Distribution is made by the
Liquidating Trustee to Holders of Allowed Claims entitled to receive Distributions under this Plan
and such term includes the Initial Distribution Date.

      36.    Effective Date means the first Business Day following the date on which the
Confirmation Order becomes a Final Order.

         37.    Estate means the Estate created by the commencement of the Case pursuant to
section 541 of the Bankruptcy Code, including, without limitation, any and all rights, Claims and
interests of the Debtor and any and all interests in property, whether real, personal or mixed, rights,
Causes of Action, Avoidance Actions, avoidance powers or extensions of time that the Debtor or
its Estate shall have had effective as of the commencement of the Case, or which such Estate
acquired after the commencement of the Case, whether by virtue of sections 544, 545, 546, 547,
548, 549, 550, 551, and 553 of the Bankruptcy Code or otherwise; but excluding any and all rights,
claims, and interests of the Debtor and any and all interests in property, whether real, personal or
mixed, which are otherwise governed by the Packers and Stockyards Act of 1921, 7 U.S.C. §§ 181
et. seq. ("PASA") and/or the Perishable Agricultural Commodities Act of 1930, 7 U.S.C. §§ 499(a)
et. seq. ("PACA").

       38.     Exhibit means an exhibit annexed to either this Plan or as an appendix to the
Disclosure Statement.

       39.      Exhibit Filing Date means the date on which Exhibits to this Plan shall be filed
with the Bankruptcy Court, which date shall be at least three (3) Business Days prior to the Voting
Deadline or such later date as may be approved by the Bankruptcy Court without further notice to
any parties-in-interest.

       40.     Fee Claim means a Claim for compensation or reimbursement of expenses under
sections 327, 328, 330, 331 503(b) or 1103 of the Bankruptcy Code.

       41.     File, Filed or Filing means file, filed or filing with the Bankruptcy Court or its
designee in the Case.

     42.     Filing Date means February 5, 2009, the date of the Filing of the Debtor's petition
commencing the Case under chapter 11 of the Bankruptcy Code.

             43.   Final Distribution Date means the date of the last Distribution under this Plan.




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        44.     Final Order means an order or judgment of a court (a) as to which the time to
appeal, petition for certiorari, or move for reargument or rehearing has expired and as to which no
appeal, petition for certiorari, or other proceedings for reargument or rehearing shall then be
pending; or (b) as to rehearing shall have been waived in writing in form and substance satisfactory
to the Debtor and the Committee or, (c) in the event that an appeal, writ of certiorari, or reargument
or rehearing thereof has been sought, such order shall have been denied by the highest court to
which such order was appealed, no further certiorari, reargument or rehearing shall have been
taken, and the time to take any further appeal, petition for certiorari or move for reargument or
rehearing shall have expired; provided, however, that the possibility that a motion under Rule 59 or
Rule 60 of the Federal Rules of Civil Procedure or Bankruptcy Rules 9023 or 9024 may be filed
with respect to such order shall not cause such order not to be a final order.

       45.     Goods Claim means a Claim Allowed as an administrative expense under section
503(b)(9) of the Bankruptcy Code.

       46.    Governmental Unit means a "governmental unit" as defined in section 101(27) of
the Bankruptcy Code.

             47.   Holder means an entity holding a Claim or Interest.

       48.      Initial Distribution Date means a Business Day, as determined by the Liquidating
Trustee after the funding of this Plan, on which the initial distribution to Class 3 will be made.

             49.   Insured Parties has the meaning set forth in Section IX.A of this Plan.

             50.   Interest means any ownership interest in the Debtor.

             51.   Legal Holiday has the meaning set forth in Bankruptcy Rule 9006(a)

       52.     Lien has the meaning set forth in section 101(37) of the Bankruptcy Code and shall
include, without limitation, all liens, security interests, replacement liens, adequate protection,
carve out rights and all charges and interests created or imposed on property by any order of the
Bankruptcy Court.

        53.   Liquidating Trustee means William S. Kaye, the individual selected by the
Committee to serve as Liquidating Trustee, or any successor, appointed pursuant to Section VI.A.1
of this Plan.

             54.   Lone Star means Lone Star Funds V (US), LP and its affiliates.

             55.   Member means LSF5 Bruno's Investments, LLC, the sole member of Debtor.

        56.    Net Proceeds means such amounts collected from the sale or liquidation of Assets
after payment of all costs and expenses of such sale or liquidation, including, without limitation,
attorneys' fees, and satisfaction of any Liens on or Allowed Claims for set off or recoupment
against such Assets.




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       57.    PACA means the Perishable Agricultural Commodities Act of 1930, codified at 7
U.S.C. §§ 499(a) et. seq.

       58.    PACA Claim(s) means Claims against Debtor asserted under, and qualified for
treatment under PACA.

       59.   PACA/PASA Order means the Final Order entered by the Bankruptcy Court dated
March 26, 2009 setting forth the procedures governing the Allowance and payment of PACA
Claims and PASA Claims against the Debtor, if any.

             60.   PASA means the Packers and Stockyards Act of 1921, codified at 7 U.S.C. §§ 181
et. seq.

       61.    PASA Claim(s) means Claims against Debtor asserted under, and qualified for
treatment under PASA.

             62.   Person has the meaning set forth in section 101(41) of the Bankruptcy Code.

         63.     Plan means this chapter 11 plan of the Debtor, including, without limitation, all
documents referenced herein and all exhibits, supplements, appendices and schedules hereto, either
in its present form or as the same may be altered, amended or modified from time to time.

             64.   Plan Proponent means the Debtor.

        65.    Plan Supplement means the compilation(s) of documents specified in this Plan that
this Plan Proponent will File on or before the Exhibit Filing Date.

        66.    Post Confirmation Committee means the committee, comprised of three members
of the Committee, including Buffalo Rock, Flowers Foods and Vertis, organized to, without
limitation, consult with the Liquidating Trustee with respect to his duties in this Plan.

        67.    Priority Non-Tax Claims means, collectively, any Claim against Debtor that is
entitled to priority under section 507(a) of the Bankruptcy Code, other than Administrative
Expense Claims, Fee Claims, Goods Claims, or Priority Tax Claims.

       68.     Priority Tax Claim means any Claim against the Debtor of a Governmental Unit of
the kind specified in sections 502(i) or 507(a)(8) of the Bankruptcy Code.

         69.   Pro Rata means proportionally, so that with respect to an Allowed Claim, the ratio
of (a)(i) the amount of property distributed on account of a particular Allowed Claim to (ii) the
amount of the Allowed Claim is equal to the ratio of (b)(i) the amount of property distributed on
account of all Allowed Claims of the Class in which the particular Allowed Claim is included to
(ii) the amount of all Claims in that Class (including Disputed Claims until disallowed).

             70.   Release Date has the meaning set forth in Section VI.C.5 of this Plan.

             71.   Released Action has the meaning set forth in Section VI.C.5 of this Plan.




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             72.   Released Party has the meaning set forth in Section VI.C.5 of this Plan.

        73.    Schedules means the schedules of assets and liabilities, the lists of Holders of
Interests and the statements of financial affairs Filed by the Debtor under section 521 of the
Bankruptcy Code and Bankruptcy Rule 1007, and all amendments and modifications thereto
through the Confirmation Date.

        74.    Secured Claim means the portion of any Claim against the Debtor, (a) determined
in accordance with section 506(a) of the Bankruptcy Code, as of the Confirmation Date, secured by
a valid, perfected and unavoidable Lien, to the extent of the value of the Holder's interest in the
Debtor's interest in the subject Collateral; or (b) subject to offset under section 553 of the
Bankruptcy Code, to the extent of the amount subject to offset.

       75.    Unsecured Claim means any Claim that is not an Administrative Claim, a Priority
Tax Claim, a Priority Non-Tax Claim, a PACA Claim, a PASA Claim, or a Secured Claim.

       76.     Voting Deadline means the date and time, as fixed by an order of the Bankruptcy
Court and as set forth in the Disclosure Statement, by which all Ballots to accept or reject this Plan
must be received in order to be counted.

B.           RULES OF INTERPRETATION.

        1.      Computation of Time. In computing any period of time prescribed or allowed by
this Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

        2.      Rules of Construction. Unless otherwise provided herein, for purposes of this
Plan: (a) whenever appropriate from the context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural; (b) any reference in this Plan to a contract,
instrument, release or other agreement or document being in a particular form or on particular
terms and conditions means that such document shall be substantially in such form or substantially
on such terms and conditions; (c) any reference in this Plan to an existing document or exhibit
Filed or to be Filed means such document or exhibit as it may have been or may be amended,
modified or supplemented from time to time and shall include all addenda, exhibits and schedules
attached thereto or referenced therein; (d) unless otherwise specified, any reference to an entity as a
Holder of a Claim or an Interest includes that entity's successors, assigns and affiliates; (e) unless
otherwise specified, all references to sections and articles are references to sections of or to this
Plan; (f) unless otherwise specified, all references in this Plan to exhibits are references to exhibits
of or to this Plan or the Disclosure Statement; (g) the words "herein," "hereunder" or "hereto" refer
to this Plan in its entirety rather than to a particular portion of this Plan; (h) "including" and
"include" shall be understood to mean "including, without limitation" (and, for purposes hereof, the
rule of ejusdem generis shall not be applicable to limit a general statement, which is followed by or
reference to an enumeration of specific matters to matters similar to the matters specifically
mentioned); (i) captions and headings to articles, sections and exhibits are inserted for convenience
of reference only and are not intended to be a part of or to affect the interpretations of this Plan; and
(j) unless modified herein, the rules of construction set forth in section 102 of the Bankruptcy Code
and the Bankruptcy Rules shall apply.




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        3.      Governing Law. Except to the extent that the Bankruptcy Code or Bankruptcy
Rules are applicable, and subject to the provisions of any contract, instrument, release, indenture or
other agreement or document entered into in connection with this Plan, the rights and obligations
arising under this Plan shall be governed by, and construed and enforced in accordance with, the
laws of the State in which the Bankruptcy Court resides, without giving effect to the principles of
conflicts of laws thereof.

                                        SECTION II.
                          CLASSIFICATION OF CLAIMS AND INTERESTS

A.           INTRODUCTION.

       All Claims and Interests except Administrative Expense Claims, PACA Claims, PASA
Claims, and Priority Tax Claims shall be classified as set forth in this Section II of this Plan.

        A Claim or Interest shall be deemed classified in a particular Class only to the extent that
the Claim or Interest qualifies within the description of that Class and shall be deemed classified in
a different Class to the extent that any remainder of the Claim or Interest qualifies within the
description of such different Class. A Claim or Interest is in a particular Class only to the extent
that such Claim or Interest is Allowed in that Class and has not been paid or otherwise settled
before the Effective Date.

             This Plan Proponent has set forth the Classes below:

B.           UNCLASSIFIED CLAIMS.

             1.     Administrative Expense Claims.

             2.     PACA Claims.

             3.     PASA Claims.

C.           CLASSES OF CLAIMS.

        1.    Priority Tax Claims. Priority Tax Claims shall collectively consist of any Claims
against the Debtor of a Governmental Unit of the kind specified in sections 502(i) or 507(a)(8) of
the Bankruptcy Code.

       2.      Priority Non-Tax Claims. Priority Non-Tax Claims shall collectively consist of
any Claims against the Debtor that is entitled to priority under section 507(a) of the Bankruptcy
Code, other than Administrative Expense Claims or Priority Tax Claims.

       3.     Class 1 – Secured Claims. Class 1 shall consist of all Allowed Secured Claims.
Class 1 Claims include, without limitation, Claims secured by equipment in connection with
equipment financings and Claims secured by mechanic's, materialmen's and artisan's liens on
miscellaneous personal and/or real property. Each Class 1 Claim is treated for all purposes under
the Bankruptcy Code and this Plan as a separate Class.



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        4.      Class 2 – Convenience Class of Unsecured Claims Against Debtor. Class 2 shall
consist of all Allowed Unsecured Claims against Debtor (other than Class 3 Claims) that are: (i) in
an amount of $500.00 or less; or (ii) that the holder has voted to accept this Plan and elects to be
treated as being in an amount of $500.00 on the Ballot submitted by such Holder with respect to
this Plan.

      5.     Class 3 – General Unsecured Claims Against Debtor. Class 3 shall consist of all
Allowed Unsecured Claims against Debtor (other than Class 2 Claims).

        6.     Class 4 – Interests. Class 4 shall consist of all Interests in the Debtor. (This Class
is conclusively presumed to have rejected this Plan and is not entitled to vote to accept or reject this
Plan.)

                                    SECTION III.
                          TREATMENT OF CLAIMS AND INTERESTS

        No Claim or Interest shall entitle the Holder thereof to a Distribution of Cash or to other
consideration pursuant to this Plan unless, and only to the extent that, such Claim or Interest is an
Allowed Claim or an Allowed Interest. Except as otherwise provided in this Plan or an order of the
Bankruptcy Court, all Distributions of Cash on account of Allowed Claims and Allowed Interests
shall be made on Distribution Date.

A.           TREATMENT OF UNCLASSIFIED CLAIMS.

             1.   Administrative Expense Claims.

        (a)     Allowance and Payment of Fee Claims. Except as provided by prior order of the
Bankruptcy Court, professionals or other entities asserting a Fee Claim must File and serve on the
Debtor, the Liquidating Trustee, the Bankruptcy Administrator, and such other entities as are
designated by the Bankruptcy Rules, the Confirmation Order or other Final Order of the
Bankruptcy Court, an application for final allowance of compensation and reimbursement of
expenses no later than thirty (30) days after the Effective Date. Such application may include fees
and expenses of the applicant incurred after the Confirmation Date but prior to the Effective Date.
Failure to timely and properly File an application for Allowance of a Fee Claim as set forth herein
shall result in such Fee Claim being forever barred and discharged. Objections to an application
for allowance of a Fee Claim must be Filed and served on the Liquidating Trustee, the Bankruptcy
Administrator, and the applicant no later than twenty (20) days after the Filing of the application
for allowance of such Fee Claim. Any Allowed Fee Claim unpaid as of the Effective Date shall be
paid on the Effective Date or, if later, not later than the fifteenth (15th) Business Day after such Fee
Claim becomes Allowed, in Cash equal to such Allowed Fee Claim from the Available Funds.

        (b)     General Allowance Procedures for Administrative Expense Claims Other than
Fee Claims and Goods Claims. Pursuant to section 502 of the Bankruptcy Code, requests for
payment of an Administrative Expense Claim, other than statutory fees, Fee Claims, or Goods
Claims, arising before the Effective Date, must be Filed and served on the Liquidating Trustee and
the Bankruptcy Administrator, pursuant to procedures set forth in the Confirmation Order, no later
than thirty (30) days after the Effective Date; provided, however, all requests for payment of Goods
Claims that were not filed before the June 5, 2009 Bar Date established by the Bankruptcy Court's


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Order of May 8, 2009, shall be denied, barred and discharged as untimely. Each such request for
payment of an Administrative Expense Claim must include, at a minimum, (i) the name of the
Holder of the Claim, (ii) the amount of the Claim, (iii) the basis for the Claim, and (iv) documents
evidencing or supporting the Claim. Failure to timely and properly file a request for payment of an
Administrative Expense Claim as set forth herein shall result in the Administrative Expense Claim
being forever barred and discharged. Objections to any such request may be made by the Debtor or
any party in interest and such objections, if any, must be filed and served on the Debtor, the
Bankruptcy Administrator, the Liquidating Trustee and the requesting party by the later of twenty
(20) days after the Effective Date or twenty (20) days after the filing of the applicable request for
payment. To the extent not paid prior to the Effective Date, these claims shall be paid on the
Effective Date or, if later, no later than the fifteenth (15th) Business Day after such Claim becomes
Allowed, Cash equal to such Allowed Claim from the Available Funds.

        (c)     Payment of Goods Claims and Administrative Expense Claims Allowed Under
Section III.A.1(b) of this Plan. Subject to the allowance procedures set forth herein, unless such
Holder agrees to other treatment (in which event, such other agreement shall govern), each Holder
of a Goods Claim or an Allowed Administrative Expense Claim Allowed pursuant to Section
III.A.1(b) of this Plan, shall, to the extent not already paid, be paid on the Effective Date or, if later,
no later than the fifteenth (15th) Business Day after such Claim becomes Allowed, Cash equal to
such Allowed Claim from the Available Funds.

        (d)    Allowance and Payment of PACA Claims/PASA Claims. All requests for
payment of PACA Claims and/or PASA Claims that were not filed before the respective statutory
deadline provided in either PACA or PASA, shall be denied, barred and discharged as untimely, as
established by the PACA/PASA Order. Subject to the allowance procedures set forth in the
PACA/PASA Order, unless the Holder of an Allowed PACA Claim or an Allowed PASA Claim
agrees to other treatment (in which event, such other agreement shall govern), each such Holder of
an Allowed PACA Claim or an Allowed PASA Claim Allowed pursuant to the terms of the
PACA/PASA Order, shall, to the extent not already paid, be paid on the Effective Date Cash equal
to such Allowed PACA Claim and/or Allowed PASA Claim from the Available Funds.

B.           TREATMENT OF UNIMPAIRED CLASSES.

         1.     Priority Non-Tax Claims. Unless such Holder agrees to other treatment (in which
event, such other agreement shall govern), each Holder of an Allowed Priority Non-Tax Claim
shall, to the extent not already paid, shall be paid in full in Cash from the Available Funds, to the
extent funds are available, within thirty (30) days after all Allowed Administrative Expense
Claims, Allowed PACA Claims, Allowed PASA Claims and Allowed Priority Non-Tax Claims
that exist against the Debtor have been paid in full or, if an objection is pending at such time, no
later than the fifteenth (15th) Business Day after such Claim becomes Allowed, in Cash from the
Available Funds.

        2.     Priority Tax Claims. Unless such Holder agrees to other treatment (in which
event, such other agreement shall govern), each Holder of an Allowed Priority Tax Claim shall be
paid in full in Cash from the Available Funds, to the extent funds are available, within thirty
(30) days after all Allowed Administrative Expense Claims, Allowed PACA Claims, Allowed
PASA Claims and Allowed Priority Non-Tax Claims that exist against the Debtor have been paid


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in full or, if an objection is pending at such time, no later than the fifteenth (15th) Business Day
after such Claim becomes Allowed, in Cash from the Available Funds.

        3.      Class 1 — Allowed Secured Claims. Unless such Holder agrees to other treatment
(in which event, such other agreement shall govern), each Holder of an Allowed Class 1 Claim
shall receive the Collateral securing their Liens on, or as soon as reasonably practicable after, the
Effective Date.

C.           TREATMENT OF IMPAIRED CLASSES.

             1.   Class 2 —Convenience Class of Unsecured Claims Against Debtor.

        (a)     Unless such Holder agrees to other treatment (in which event, such other agreement
shall govern), each Holder of a Class 2 Claim shall receive twenty-five (25%) of its Allowed Claim
amount from the Available Funds, to the extent funds are available, within thirty (30) days after all
Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed PACA Claims,
Allowed PASA Claims, Allowed Priority Non-Tax Claims and Allowed Class 1 Claims that exist
against the Debtor have been paid in full.

         (b)    Claims in Class 2 are impaired under this Plan. Therefore, pursuant to section
1126(a) of the Bankruptcy Code, the Holders of the Class 2 Claims are entitled to vote to accept or
reject this Plan.

             2.   Class 3 – Allowed General Unsecured Claims.

        (a)    Unless such Holder agrees to other treatment (in which event, such other agreement
shall govern), each Holder of an Allowed Class 3 Claim shall be paid pro rata from the Available
Funds, to the extent funds are available and until such Claims are paid in full, after all Allowed
Administrative Expense Claims, Allowed Priority Tax Claims, Allowed PACA Claims, Allowed
PASA Claims, Allowed Priority Non-Tax Claims, Allowed Class 1 Claims, and Allowed Class 2
Claims that exist against the Debtor have been paid in full. The Initial Distribution Date shall be in
the discretion of the Liquidating Trustee, who shall make it as soon as reasonably practical after
taking into the account the status of objections to claims and amount of Disputed Claims, the
amount of Available Funds, and the cost of making the Distribution.

         (b)    Claims in Class 3 are impaired under this Plan. Therefore, pursuant to section
1126(a) of the Bankruptcy Code, the Holders of the Class 3 Claims are entitled to vote to accept or
reject this Plan.

             3.   Class 4 – Interest in Debtor.

        (a)     The Interest of the sole Member of Debtor, and any instruments and other
documents evidencing such Interest, shall be cancelled as of the Effective Date. The Holder of
Interest in Class 4 shall not receive or retain any Distribution or other property on account of such
Interest.

        (b)    Pursuant to section 1126(g) of the Bankruptcy Code, the Holder of Interest in Class
4 is deemed to have rejected this Plan and is not entitled to vote to accept or reject this Plan.


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                                  SECTION IV.
             TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       Pursuant to section 1123(b)(2) of the Bankruptcy Code, all executory contracts and
unexpired leases to which the Debtor is or was a party and not previously rejected or assumed and
assigned pursuant to prior order of the Bankruptcy Court, are deemed rejected pursuant to section
365(a) of the Bankruptcy Code as of the Confirmation Date.

        Each party to an executory contract or unexpired lease rejected pursuant to this Plan (and
only such entities) asserting a Claim for damages arising from such rejection shall File, not later
than thirty (30) days following the Confirmation Date, a proof of such Claim; provided, however,
that (1) the Bar Date established for rejection damages claims in this Section IV of this Plan shall
not apply to Persons that may assert a Claim on account of an executory contract or unexpired lease
that was rejected by the Debtor before the Confirmation Date for which a prior Bar Date was
established; and (2) any Person asserting a claim for rejection damages that does not timely File a
proof of claim in accordance with this Plan shall be forever enjoined and barred from asserting
such Claim against the Debtor, the Estate or any property of the Estate.

                                     SECTION V.
                     CONFIRMATION AND CONSUMMATION OF THIS PLAN

A.           CONDITIONS PRECEDENT – Confirmation Date.

             The following are conditions precedent to the occurrence of the Confirmation Date:

       1.     The entry of a Final Order finding that the Disclosure Statement contains adequate
information pursuant to section 1125 of the Bankruptcy Code which order shall be in form and
substance reasonably satisfactory to the Debtor and the Committee;

       2.      The proposed Confirmation Order shall be, in form and substance, reasonably
acceptable to the Debtor and the Committee; and

             3.     All provisions, terms and conditions of this Plan are approved in the Confirmation
Order.

B.           CONDITIONS PRECEDENT – Effective Date.

      The following are conditions precedent to the occurrence of the Effective Date, each of
which must be satisfied or waived in writing:

       1.      The Confirmation Order shall have been entered and become a Final Order and shall
provide that the Liquidating Trustee is authorized and directed to take all actions necessary or
appropriate to enter into, implement and consummate this Plan or effectuate, advance or further the
purposes thereof;

       2.      All Plan Exhibits shall be, in form and substance, reasonably acceptable to the
Debtor and the Committee, and if applicable, shall have been executed and delivered by all parties'
signatory thereto;


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       3.     All other actions, documents, and agreements necessary to implement this Plan shall
have been effected or executed; and

       4.     Available Funds shall be sufficient to make all required payments on the Effective
Date and fund a reserve for such payments if not Allowed as of the Effective Date.

C.           WAIVER OF CONDITIONS.

        Each of the conditions set forth in Section V of this Plan may be waived in whole or in part
by the Debtor and the Committee. The failure of a party to exercise any of the foregoing rights
shall not be deemed a waiver of any other rights, and each such right shall be deemed an ongoing
right that may be asserted at any time.

D.           CONSEQUENCES OF NON-OCCURRENCE OF EFFECTIVE DATE.

       In the event that the Effective Date does not timely occur, the Debtor and the Committee
reserve all rights to seek an order from the Bankruptcy Court directing that the Confirmation Order
be vacated, that this Plan be null and void in all respects, and/or that any settlement of Claims
provided for in this Plan be null and void. In the event that the Bankruptcy Court shall enter an
order vacating the Confirmation Order, the time within which the Debtor may assume and assign,
or reject all executory contracts and unexpired leases not previously assumed, assumed and
assigned, or rejected, shall be extended for a period of thirty (30) days after the date the
Confirmation Order is vacated, without prejudice to further extensions.

                                      SECTION VI.
                                IMPLEMENTATION OF PLAN

A.           LIQUIDATING TRUSTEE.

        1.     Appointment. The Liquidating Trustee shall be appointed as of the Effective Date
and shall serve without a bond. In the event of the death, resignation, incapacity, disqualification,
or misconduct of the Liquidating Trustee, the Post Confirmation Committee shall appoint a
successor. The Liquidating Trustee shall retain and have all of the rights, powers and duties
necessary to carry out its responsibilities under this Plan and those rights, powers and duties shall
be exercisable solely by the Liquidating Trustee. Commencing on the Confirmation Date, the
Debtor shall work with the Committee and the Liquidating Trustee to facilitate a smooth transition
of the responsibility of the wind down of the Estate to the Liquidating Trustee, including being able
to make the payments on the Effective Date that are required by the Plan.

      2.     Duration. The Liquidating Trustee shall continue to exist until entry of a Final
Order by the Bankruptcy Court closing the Bankruptcy Case pursuant to section 350(a) of the
Bankruptcy Code.

       3.      Exclusive Powers and Duties. The Liquidating Trustee shall serve under this Plan
and shall discharge all of the rights, powers and duties set forth in this Plan. Without limiting the
generality of the foregoing, the Liquidating Trustee, his successors and assigns, shall have the
following exclusive rights, powers and duties:



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           (a)          All of the the rights, powers, and duties of a trustee in bankruptcy, including
but not limited to, those under sections 704(a)(1), (2), (4), (5) and (7) and 1106(a)(6) and (7) of the
Bankruptcy Code;

             (b)       to administer the Available Funds, pursuant to the terms of this Plan;

          (c)        to use, acquire and dispose of property free of any restrictions imposed under
the Bankruptcy Code;

            (d)        to sell, devise or otherwise dispose of any Assets without further notice or
order of the Court, except as otherwise provided in the Plan;

           (e)        to employ, retain, and replace such persons, including actuaries, attorneys,
accountants, auctioneers, brokers, managers, consultants, other professionals, agents, investigators,
expert witnesses, consultants and advisors as necessary to discharge the duties of the Liquidating
Trustee under this Plan and to pay the reasonable fees and costs of such employment without the
need to seek approval from the Bankruptcy Court or review by any other party in interest.

           (f)         Except as provided for in the C&S Claim Objection Order with respect to the
C&S Claim, to object to the Allowance of Claims or seek equitable subordination of Claims,
pursuant to the terms of this Plan, and to settle any such objection to Claims without further Order
of the Court or notice to creditors or the Post Confirmation Committee, other than any settlement of
any claim filed by BI-LO or C&S (if the latter is prosecuted by the Liquidating Trustee instead of
Lone Star), which shall be subject to the approval of the Post Confirmation Committee;

           (g)        to establish reserves and open, maintain and administer bank accounts as
necessary to discharge the duties of the Liquidating Trustee under this Plan;

            (h)        to investigate, analyze, commence, prosecute, litigate, collect and otherwise
administer the Causes of Action in the Bankruptcy Court or other court of competent jurisdiction
and settle same without further order of the Court or notice to creditors or the Post Confirmation
Committee, other than any settlement of any Cause of Action in excess of $1,000,000 shall be
subject to the approval of the Post Confirmation Committee;

             (i)       to voluntarily engage in arbitration or mediation with respect to any Causes
of Action;

          (j)         to represent the Estate before the Bankruptcy Court and other courts of
competent jurisdiction with respect to all matters;

          (k)       to seek the examination of any entity under and subject to the provisions of
Bankruptcy Rule 2004;

             (l)       to pay any fees due and owing under 28 U.S.C. § 1930;

           (m)        to comply with applicable orders of the Bankruptcy Court and any other
court of competent jurisdiction over the matters set forth herein;



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            (n)        to comply with all applicable laws and regulations concerning the matters set
forth herein;

           (o)         to invest the Available Funds in (a) direct obligations of the United States of
America or obligations of any agency or instrumentality thereof which are guaranteed by the full
faith and credit of the United States of America, (b) in money market deposit accounts, checking
accounts, savings accounts or certificates of deposit, or other time deposit accounts that are issued
by a commercial bank or savings institution organized under the laws of the United States of
America or any state thereof, or (c) or any other investments that may be permissible under section
345 of the Bankruptcy Code or order of the Bankruptcy Court;

           (p)          to exercise such other powers as may be vested in the Liquidating Trustee
pursuant to this Plan, the Confirmation Order or other Final Orders of the Bankruptcy Court; and

          (q)          to execute any documents, instruments, contracts and agreements necessary
and appropriate to carry out the powers and duties of the Liquidating Trustee.

           (r)        to provide periodic reports to the Post Confirmation Committee at a
frequency to be agreed upon by the Liquidating Trustee and the Post Confirmation Committee.

       4.      Fees and Expenses. The Liquidating Trustee shall be reimbursed for all out of
pocket fees, costs, and expenses in acting under this Plan. The compensation of the Liquidating
Trustee shall be a fixed monthly fee to be agreed upon by the Committee and the Liquidating
Trustee on or before ten (10) days prior to the Confirmation Hearing and disclosed to the Court on
or before the Confirmation Hearing. Compensation of the Liquidating Trustee and the costs and
expenses of the Liquidating Trustee (including, without limitation, professional fees and expenses)
shall be paid from the Available Funds. Without limitation of the foregoing, the Liquidating
Trustee shall pay, without further order, notice or application to the Bankruptcy Court, the
reasonable fees and expenses of the Liquidating Trustee and the Liquidating Trustee's
professionals, as necessary to discharge the Liquidating Trustee's duties under this Plan. The
payment of fees and expenses of the Liquidating Trustee shall be from Available Funds and be
made in the ordinary course of business and shall not be subject to the prior approval of the
Bankruptcy Court.

        5.     Compromising Disputed Claims, Liens, and Causes of Action. The Liquidating
Trustee is authorized to: (i) compromise and settle any Causes of Action, Liens, and Disputed
Claims; and (ii) execute necessary documents, including a stipulations of settlement or release,
without notice or further order of the Bankruptcy Court or notice to any party in interest, except
that the consent of the Post Confirmation Committee shall be required for any settlement of the
Claims of Bi-Lo or C&S (if the Claim objected is prosecuted by the Liquidating Trustee) or any
Cause of Action in excess of $1,000,000 or against Bi-Lo.

         Post Confirmation Committee. The Post Confirmation Committee will become effective
on the Effective Date. It will establish bylaws for its operation and meet at such times as it deems
necessary. It consult with the Liquidating Trustee and its approval will be necessary as provided
for in the Plan. If it deems it necessary to retain professionals, including counsel, the bills for those
professionals will be submitted to the Liquidating Trustee will pay the reasonable and necessary



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fees and expenses of those professionals from the Available Funds. If there is a dispute with
respect to payment of those fees and expenses, the Post Confirmation Committee can file an
application with the Bankruptcy Court to determine the matter.

B.           DISPOSITION OF PROPERTY BY THE LIQUIDATING TRUSTEE.

        1.      Vesting of Assets. Unless otherwise dealt with under this Plan or by a prior Final
Order, on the Effective Date all property of the Estate (including all Causes of Action) will remain
vested in the Estate and shall continue to be subject to the jurisdiction of the Bankruptcy Court
following confirmation of this Plan until distributed to Holders of Allowed Claims in accordance
with the provisions of this Plan and the Confirmation Order. From and after the Effective Date, all
property of the Estate shall be free and clear of all liens, claims and interest of Holders of Claims
and Interests, except as otherwise provided in this Plan. All such property of the Estate shall be
distributed in accordance with the provisions of this Plan and the Confirmation Order.

        2.     Liquidation of Assets. Notwithstanding any other provision of this Plan, on the
Effective Date or as soon as practicable thereafter, the Liquidating Trustee (without further motion,
notice or order of the Bankruptcy Court, subject to the terms of this Plan), shall liquidate the Assets
on the terms and conditions set forth in this Plan and distribute the Net Proceeds thereof in
accordance with this Plan.

        3.       Distributions. The Liquidating Trustee shall liquidate the Assets of the Debtor in
accordance with this Plan and shall distribute the Net Proceeds thereof as follows: (a) first to pay
the reasonable costs and expenses of the Liquidating Trustee and his professionals (including
professional fees) incurred in administering, maintaining, and preserving the Available Funds and
the liquidation of the Assets of the Debtor (to the extent not otherwise paid pursuant to this Plan);
and (b) second Pro Rata to the Holders of Allowed Claims on the terms and conditions, and in the
priority, set forth in this Plan.

C.           SETTLEMENT, RELEASE, SATISFACTION AND INJUNCTION.

        1.      Full and Final Satisfaction. The treatment of Claims and Interests provided in this
Plan shall be in full and final satisfaction, settlement and discharge of all liabilities of Claims
against, or Interests in the Debtor. Except as provided in this Plan or the Confirmation Order, the
rights afforded under this Plan will be in exchange for and in complete satisfaction, discharge and
release of all Claims and liabilities and termination of all Interests arising on or before the Effective
Date, including any interest accrued after the Filing Date.

     2.    INJUNCTION. EXCEPT AS OTHERWISE PROVIDED IN THIS PLAN, THE
CONFIRMATION ORDER SHALL PROVIDE, AMONG OTHER THINGS, THAT FROM AND
AFTER THE EFFECTIVE DATE ALL PERSONS WHO HAVE HELD, HOLD OR MAY HOLD
CLAIMS AGAINST OR INTERESTS IN THE DEBTOR ARE PERMANENTLY ENJOINED
FROM TAKING ANY OF THE FOLLOWING ACTIONS AGAINST THE DEBTOR OR ITS
ESTATE, OR ANY OF ITS PROPERTY ON ACCOUNT OF ANY SUCH CLAIMS OR
INTERESTS: (A) COMMENCING OR CONTINUING, IN ANY MANNER OR IN ANY
PLACE, ANY ACTION OR OTHER PROCEEDING; (B) ENFORCING, ATTACHING,
COLLECTING OR RECOVERING IN ANY MANNER ANY JUDGMENT, AWARD, DECREE



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OR ORDER; (C) CREATING, PERFECTING OR ENFORCING ANY LIEN OR
ENCUMBRANCE; (D) ASSERTING A SETOFF, RIGHT OF SUBROGATION OR
RECOUPMENT OF ANY KIND AGAINST ANY DEBT, LIABILITY OR OBLIGATION DUE
TO THE DEBTOR; AND (E) COMMENCING OR CONTINUING, IN ANY MANNER OR IN
ANY PLACE, ANY ACTION THAT DOES NOT COMPLY WITH OR IS INCONSISTENT
WITH THE PROVISIONS OF THIS PLAN, PROVIDED HOWEVER, THAT NOTHING
CONTAINED IN THIS PLAN SHALL PRECLUDE SUCH PERSONS FROM EXERCISING
THEIR RIGHTS PURSUANT TO AND CONSISTENT WITH THE TERMS OF THIS PLAN OR
THE CONFIRMATION ORDER.

THE CONFIRMATION ORDER SHALL FURTHER PROVIDE THAT, WITH THE
EXCEPTION OF THE LIQUIDATING TRUSTEE AND HIS PROFESSIONALS, ALL
PERSONS ARE PERMANENTLY ENJOINED FROM OBTAINING ANY DOCUMENTS OR
OTHER MATERIALS FROM CURRENT COUNSEL FOR THE DEBTOR THAT IS IN THE
POSSESSION OF SUCH COUNSEL AS A RESULT OF OR ARISING IN ANY WAY OUT OF
THEIR REPRESENTATION OF THE DEBTOR.

       3.      Term of Bankruptcy Injunction or Stays. All injunctions or stays provided for in
the Chapter 11 Case under sections 105 or 362 of the Bankruptcy Code, or otherwise, and in
existence on the Confirmation Date, shall remain in full force and effect until the Effective Date.
Upon the Effective Date, the injunction provided in this section shall apply.

        4.      Released Claims; Mutual Releases. The Liquidating Trustee retains the right to
pursue any actions arising from or relating to any and all claims, obligations, rights, suits, damages,
causes of action, remedies and liabilities, whatsoever, whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereafter arising, in law, equity or otherwise, against the Debtor, any Persons who served as
directors, officers or management employees of the Debtor on or after the Petition Date and each of
their respective agents, employees, representatives, and professionals, including Alvaraz & Marsal,
James Grady, SSG Capital Advisors, LLC, and employees, the Committee and its professionals,
and the Liquidating Trustee and its professionals (collectively, with each of their predecessors and
successors in interest and their respective general and limited partners, officers, directors,
employees, agents, professionals and other representatives, the "Bankruptcy Parties" or singly, a
"Bankruptcy Party") based in whole or in part upon any act or omission, transaction, agreement,
event or other occurrence taking place on or before the Effective Date, relating in any way to the
Debtor, the Case, this Plan, the Disclosure Statement (the foregoing referred to as the "Bankruptcy
Case Actions" or singly, a "Bankruptcy Case Action"); provided however, if the Committee or the
Post Confirmation Committee fails to commence a Bankruptcy Case Action against a Bankruptcy
Party in a court of competent jurisdiction on or before November 30, 2009 (the "Release Date"),
the Bankruptcy Parties on the one hand, and the Committee and the members thereof (solely in
their capacity as such and not with respect to their Claims as individual creditors), and each of their
respective agents, employees, professionals, and representatives on the other hand (collectively,
with each of their predecessors and successors in interest and their respective general and limited
partners, officers, directors, employees, agents, professionals and other representatives, the
"Released Parties"), for good and valuable consideration, including, but not limited to, the
commitment, obligation and service of each of the aforementioned to facilitate the expeditious
implementation of the liquidation contemplated by this Plan, shall automatically be deemed to have


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released one another unconditionally and forever from any and all claims, obligations, rights, suits,
damages, causes of action, remedies and liabilities, whatsoever, whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereafter arising, in law, equity or otherwise, that any of the foregoing Persons or entities would
have been legally entitled to assert (in their own right, whether individually or collectively, or on
behalf of the Holder of any Claim or Interest or other Person or entity), based in whole or in part
upon any act or omission, transaction, agreement, event or other occurrence taking place on or
before the Effective Date, relating in any way to the Debtor, the Case, this Plan, the Disclosure
Statement, except for any intentional acts of the past and present directors, officers and
management employees of the Debtor, professionals of the Debtor, the Holders of Claims or
Interests, which constitute fraud or willful misconduct if the party bringing the cause of action (or
its employees, agents, or advisors) did not have actual knowledge of such intentional acts as of the
Effective Date (the foregoing referred to as the "Released Actions"). If the Committee or the Post
Confirmation Committee commences a Bankruptcy Case Action against a Bankruptcy Party in a
court of competent jurisdiction on or before the Release Date, while that particular Bankruptcy
Case Action shall not be deemed to be released, foregoing release shall still be deemed applicable
to that Bankruptcy Party for all other claims and causes of actions contemplated by this Section
VI.C.5, and not otherwise timely prosecuted by the Committee or the Post Confirmation
Committee.

        5.      Releases by Holders of Claims and Equity Interests. As of the Effective Date,
for good and valuable consideration, to the fullest extent permissible under applicable law, the
Holders of Claims or Interests, and each of their respective agents, employees, professionals, and
representatives, will be deemed to completely and forever release, waive, void, extinguish, and
discharge the Released Parties from all Released Actions (other than the rights to enforce
obligations created under this Plan, and any right or obligation of such holder under this Plan, and
the securities, contracts, instruments, releases, indentures, and other agreements or documents
delivered thereunder or contemplated thereby, including, without limitation, this Plan and the
Disclosure Statement).

       6.      Injunction Related to Releases. Except to the limited extent set forth in Section
VI.B.4 of this Plan, all claimants and parties in interest, including the Committee, the Holders of
any Claim or Interest, and each of their respective agents, employees, professionals, and
representatives, are permanently, forever, and completely stayed, restrained, prohibited, and
enjoined from directly or indirectly, derivatively or otherwise, commencing or continuing any
Released Action against any Released Party, including as a defense or counterclaim; provided,
however, that any party in interest may enforce the terms of this Plan. Nothing in this Plan shall
prejudice any right, remedy, defense, claim, cross-claim, counterclaim, or third-party claim that any
Person may have against any Person other than with respect to the Released Actions against the
Released Parties.

        7.      Waiver. The release set forth in this Plan does not limit, abridge, or otherwise affect
the rights of the Liquidating Trustee to enforce, sue on, settle, or compromise the rights, claims and
other matters retained by the Liquidating Trustee on behalf of the Estate pursuant to this Plan.

      8.      Reservation of Police and Regulatory Powers of Governmental Units.
Notwithstanding any other provision in this Plan, any discharge, release, exculpation or injunction


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provided in this Plan shall not preclude any action or proceeding by a governmental unit to enforce
such governmental unit's police or regulatory power.

        9.     Insurance Claims for Personal Injury or Wrongful Death Claims.
Notwithstanding any other provision of this Plan, any discharge or injunction contained in this Plan
shall not prejudice, impair or increase any right of the Holder of any personal injury or wrongful
death Claim to collect from any insurer of the Debtor or the insurer of any agent of the Debtor
under any applicable property, liability or casualty insurance policy. On the Effective Date the stay
shall be modified pursuant to section 362(d) of the Bankruptcy Code to the extent necessary to
allow any such Holder of a personal injury or wrongful death claim to collect from any insurer of
the Debtor or the insurer of any agent of the Debtor under any applicable property, liability or
casualty insurance policy; provided, however, that any such claim may be liquidated and enforced
only in accordance with this Plan. In such instance, the Holders of those Claims may proceed
against the Debtor in name only and are entitled to no recovery from the Debtor or its Estate.

D.           PLAN ADMINISTRATION.

        1.      General. From and after the Effective Date, the Liquidating Trustee shall fulfill the
specific duties assigned in accordance with this Plan. The Liquidating Trustee shall execute,
deliver, file or record such documents, instruments, releases and other agreements, and take such
actions as may be necessary or appropriate to implement, effectuate and further evidence the terms
and conditions of this Plan.

        2.     Cancellation of Equity Interests. On the Effective Date, all outstanding
membership interests in Debtor shall be cancelled and extinguished and all certificates representing
an Interest in Debtor shall become void without the need for further action. The Holder of the
Interest in Debtor shall have no rights arising from or relating to such agreements and instruments
against the Debtor or its Estate except the rights provided pursuant to this Plan.

        3.      Debtor's Directors, Officers, Members and Managers. On the Effective Date, all
officers, directors, members and managers of the Debtor shall be deemed to have resigned and shall
be discharged from any further duties and responsibilities in such capacity. From and after the
Effective Date, the Liquidating Trustee shall serve as the sole officer, sole director, sole member or
sole manager of the Debtor, but he shall retain and enforce Causes of Action as the representative
of his capacity as the Liquidating Trustee under the Plan pursuant to section 1123(b) of the
Bankruptcy Code and not as an officer, director, member or manager of the Debtor. Any and all
operating agreements, certificates of organization, and related corporate documents are deemed
amended by this Plan to permit and authorize such sole appointment.

       4.       Debtor's Existence. From and after the Effective Date, the Debtor shall continue in
existence for the purpose of winding up its affairs as expeditiously as possible. Upon the Effective
Date, all transactions and applicable matters provided for under this Plan shall be deemed to be
authorized and approved by the Debtor without any requirement of further action by the Debtor.
On and after the Effective Date, the Debtor's remaining assets and affairs shall be administered and
managed by the Liquidating Trustee in accordance with this Plan.




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Upon a certification to be filed with the Court of the Final Distribution and completion of all duties
under this Plan and entry of a Final Decree closing the Case, the Debtor shall be deemed to be
dissolved without any further action by the Debtor or the Liquidating Trustee, including the filing
of any documents in any filing office in any jurisdiction where the Debtor is organized. However,
the Liquidating Trustee shall have the authority to take all necessary actions to dissolve the Debtor.
Further, upon the aforementioned certification and entry of Final Decree, the Liquidating Trustee
shall be authorized, in his sole discretion, to discard or destroy any and all of the Debtor's pre-
petition books and records. Upon the Effective Date, the Debtor shall turn over its post-petition
books and records to the Liquidating Trustee.

        5.      Dissolution of Committee. On the Effective Date, (a) the Committee shall dissolve
and its members shall be released of their respective duties, responsibilities and obligations in
connection with the Case or this Plan; and (b) the retention or employment of the Committee's
respective professionals and agents shall be terminated, other than with respect to Filing and
objecting to fee applications.

        6.     Corporate Authority. The Confirmation Order shall constitute full and complete
corporate authority for the Debtor and the Liquidating Trustee to take all other actions that may be
necessary, useful or appropriate to consummate this Plan without any further corporate or judicial
authority.

                                    SECTION VII.
                        PROVISIONS GOVERNING DISTRIBUTIONS

A.           PROCEDURE FOR DETERMINATION OF CLAIMS.

       1.      Objections to Claims. After the Effective Date, the Liquidating Trustee shall have
exclusive authority and responsibility to prosecute objections to all Claims.

        2.      Disputed Claims. Payments or Distributions under this Plan on Account of
Disputed Claims shall be held in reserve pending the Allowance or disallowance of the Claim. To
the extent any property is distributed to an entity on account of a Claim that is not an Allowed
Claim, such property shall promptly be returned to the Liquidating Trustee. To the extent that a
Disputed Claim ultimately becomes an Allowed Claim, Distributions on account of such Allowed
Claim shall be made in accordance with the provisions of this Plan. On the Distribution Date next
following the date that the order or judgment of the Bankruptcy Court allowing such Claim
becomes a Final Order, any Cash held in reserve pursuant to this Plan that would have been
distributed prior to the date on which a Disputed Claim becomes an Allowed Claim shall be
distributed to the Holder of such Allowed Claim, together with any other Distributions that would
have been due on account of such Claim being an Allowed Claim. The Liquidating Trustee shall
reserve from any Distribution on account of Allowed Claims any amount otherwise allocable to a
Claim that is a Disputed Claim pursuant to Section VII.B.8 of this Plan. .

B.           DISTRIBUTIONS.

        1.     Distributions on Allowed Claims.       Except as otherwise provided herein,
Distributions to Holders of Allowed Claims shall be made: (a) at the addresses set forth on the
respective proofs of Claim Filed by such Holders; (b) at the addresses set forth in any written


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notice of address change delivered to the Debtor, or the Liquidating Trustee, as applicable, after the
date of the Filing of any related proof of claim; or (c) at the address reflected in the Schedules or
the Debtor's books and records if no proof of claim has been Filed and if the Debtor or the
Liquidating Trustee, as applicable, has not received written notice of a change of address, as set
forth herein. The Distributions to Holders of Allowed Claims shall be on the Initial Distribution
Date and the subsequent Distribution Dates on the terms and conditions of this Plan.
Notwithstanding any other provision of the paragraph, all Distributions to Holders of Claims shall
be subject to the provisions of this Plan concerning reserves for Disputed Claims.

       2.       Undeliverable Distributions. If a Distribution is returned as undeliverable, the
Liquidating Trustee shall hold such Distribution and shall not be required to take any further action
with respect to the delivery of the Distribution unless and until the earlier of (a) the date on which
the Liquidating Trustee, as applicable, is notified in writing of the then current address of the
holder entitled to receive the Distribution and (b) three (3) months after said Distribution, except as
the Bankruptcy Court may otherwise order. If the Liquidating Trustee is notified in writing of the
then current address of the holder before three (3) months after said Distribution, the Liquidating
Trustee shall make the Distribution required by this Plan to the Holder at such address. If the
Liquidating Trustee is not so notified by three (3) months after said Distribution, and the Holder of
the Claim does not assert a right to the undeliverable Distribution within three (3) months after the
Distribution, the Holder shall be forever barred from asserting a Claim to such undeliverable
Distribution and such future Distributions, and the undeliverable Distribution shall become
available for Distribution to Holders of other Allowed Claims as provided in this Plan.

       3.      Manner of Payment. Distributions under this Plan may be made, at the option of
the Liquidating Trustee, in Cash, by wire transfer or by check drawn on such accounts established
by the Liquidating Trustee as necessary to effectuate this Plan.

        4.      Interest. Unless otherwise required by Final Order of the Bankruptcy Court,
interest shall not accrue or be paid after the Filing Date on any Claims, and no Holder of a Claim
shall be entitled to interest accruing on or after the Filing Date on any Claim.

             5.   Fractional Dollars; De Minimis Distributions.

        (a)   Whenever any payment of a fraction of a cent would otherwise be called for, the
actual payment shall reflect a rounding of such fraction to the nearest whole cent.

        (b)     Except as to the Convenience Class of Unsecured Claims, no interim Distribution
will be made on account of any Allowed Claim if the amount of such Distribution is less than
$25.00. On the Final Distribution Date, the Liquidating Trustee shall (i) aggregate the amount of
all Distributions that would have been made on account of an Allowed Claim in Class Three but for
this de minimis provision and (ii) make a Distribution on account of such Allowed Claim in
accordance with this Plan.

       6.      Distributions on Claims Allowed Pursuant to Section 502(h) of the Bankruptcy
Code. Except as otherwise provided in this Plan, no Distributions shall be made on account of a
Claim arising as a result of a Final Order entered in an Avoidance Action until such Claim becomes
an Allowed Claim. Any Claim that is Allowed pursuant to § 502(h) of the Bankruptcy Code prior



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to the Initial Distribution Date as a result of the entry of a Final Order in any Avoidance Action
will be treated in accordance with the provisions of this Plan. All Holders of such Claims that
become Allowed Claims after the Initial Distribution Date will receive an initial Distribution on the
Distribution Date next following the date on which their Claim becomes an Allowed Claim and
shall receive subsequent Distributions, if any, in accordance with the provisions of this Plan.
Distributions under this Plan on account of anticipated Claims that may arise or become allowable
as a result of the entry of a Final Order in any Avoidance Action that are not Allowed Claims as of
the Initial Distribution Date may be held in reserve, at the discretion of the Liquidating Trustee,
pending the allowance or disallowance of such Claims.

        7.      Compliance with Tax Requirements. In compliance with section 346 of the
Bankruptcy Code, to the extent applicable, the Liquidating Trustee shall comply with all
withholding and reporting requirements imposed by federal, state or local taxing authorities in
connection with making Distributions pursuant to this Plan and shall be authorized to take any and
all action necessary and appropriate to comply with such requirements. As a condition to making
any Distribution under this Plan, the Liquidating Trustee may require the Holder of an Allowed
Claim to provide such Holder's taxpayer identification number, and such other information,
certification or forms as necessary to comply with applicable tax reporting and withholding laws.
Notwithstanding any other provision of this Plan, each entity receiving a Distribution of Cash
pursuant to this Plan shall have sole and exclusive responsibility for the satisfaction and payment of
tax obligations imposed by any governmental unit, including income, withholding and other tax
obligations, on account of such Distribution.

        8.      Reserve for Disputed Claims. Except as otherwise provided in this Plan, no
Distributions shall be made on account of a Disputed Claim until such Claim becomes an Allowed
Claim. In making any Distribution on Allowed Class 2 or Class 3 Claims, the Liquidating Trustee
shall calculate the amount of such Distribution (for purposes of making a Pro Rata calculation) as if
each Disputed Claim were an Allowed Claim, unless the Bankruptcy Court enters an order
specifying that the Disputed Claim should be treated as being a different amount for purposes of
such calculation. The Liquidating Trustee shall reserve from Distributions a sufficient amount to
make a Distribution on a Disputed Claim in the event it becomes an Allowed Claim (unless the
Bankruptcy Court orders otherwise); and (b) to the extent a Disputed Claim is disallowed pursuant
to a Final Order, any reserves attributable to the disallowed portion of the Disputed Claim shall be
distributed on account of Allowed Claims pursuant to the terms of this Plan.

        9.      Setoffs. Subject to section 553 of the Bankruptcy Code, in the event the Debtor has
a Claim of any nature whatsoever against a Holder of a Claim, the Liquidating Trustee may, but is
not required to, set off or recoup the Debtor's Claim against such Claim (and any Distributions or
other rights to receive property arising out of such Claim under this Plan) unless any such claim of
the Debtor is or will be released under this Plan. Neither the failure to set off nor the allowance of
any Claim under this Plan shall constitute a waiver or release of any Claim of the Debtor.

       10.   Reliance on Claims Register. In making Distributions under this Plan, the
Liquidating Trustee may rely upon the accuracy of the claims register maintained by the
Bankruptcy Court or its designee as claims agent in the Case, as modified by any Final Order of the
Bankruptcy Court disallowing Claims in whole or in part.



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C.           RESERVATION OF RIGHTS OF THE ESTATE.

        All Claims, rights to payment, Causes of Action, cross-claims and counterclaims of the
Debtor or the Estate of any kind or nature whatsoever including, without limitation, Causes of
Action and Avoidance Actions, against third parties arising before the Confirmation Date that have
not been disposed of prior to the Effective Date shall be preserved and treated in accordance with
this Plan, for the benefit of the Estate as set forth in this Plan, except to the extent released or
enjoined by this Plan or pursuant to a Final Order.

        Furthermore, except as specifically released or enjoined by the Plan or pursuant to a Final
Order, the Liquidating Trustee is retaining for enforcement for the benefit of the Estate all
Avoidance Actions, including, but not limited to, against the following persons or entities: (a) any
person or entity who received a payment or property from the Debtor to or for their benefit on
account of an antecedent debt owed by the Debtor within ninety (90) days of the Filing Date,
including, but not limited to, those persons or entities identified in response to Question 3(a) on
Debtor’s Statement of Financial Affairs Filed with the Bankruptcy Court, (b) any insider of the
Debtor, as that term is defined by the Bankruptcy Code, who received a payment or property from
the Debtor to or for their benefit on account of an antecedent debt owed by the Debtor within one
year of the Filing Date and (c) any person or entity who received a transfer of property from the
Debtor within two years of the Filing Date. Regardless of whether or not you are identified as a
recipient of a payment of other transfer of property from the Debtor on the Debtor Statement of
Financial Affairs Filed with the Bankruptcy Court, you should nevertheless assume that the
Liquidating Trustee, for the benefit of the Estate, is reserving and retaining for enforcement any
and all Avoidance Actions that the Estate has or could have against you if you did receive a
payment or transfer of property from the Debtor within two years prior to the Filing Date.

                                     SECTION VIII.
                               RETENTION OF JURISDICTION

        Under sections 105(a) and 1142 of the Bankruptcy Code, and notwithstanding entry of the
Confirmation Order, substantial consummation of this Plan and occurrence of the Effective Date,
the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, and related
to, the Case and this Plan to the fullest extent permitted by law, including, among other things,
jurisdiction to:

        1.      Allow, disallow, determine, liquidate, classify, estimate or establish the priority or
secured or unsecured status of any Claim or Interest, including the resolution of any request for
payment of any Administrative Expense Claim, the resolution of any objections to the Allowance
or priority of Claims or Interests and the determination of requests for the payment of claims
entitled to priority under section 507(a)(1) of the Bankruptcy Code, including compensation of any
reimbursement of expenses of parties entitled thereto;

        2.    Hear and determine all applications for compensation and reimbursement of
expenses of professionals under this Plan or under sections 330, 331, 503(b), 1103, and 1129(a)(4)
of the Bankruptcy Code;




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        3.    Hear and determine all matters with respect to the assumption or rejection of any
executory contract or unexpired lease to which the Debtor is a party or with respect to which the
Debtor may be liable, and to hear, determine and, if necessary, liquidate any Claims arising
therefrom;

             4.   Effectuate performance of and payments under the provisions of this Plan;

       5.       Hear and determine any and all adversary proceedings, motions, applications and
contested or litigated matters arising out of, under or related to the Chapter 11 Case or this Plan;

      6.     Enter such orders as may be necessary or appropriate to execute, implement or
consummate the provisions of this Plan and all contracts, instruments, releases and other
agreements or documents created in connection with this Plan, the Disclosure Statement or the
Confirmation Order;

      7.      Hear and determine disputes arising in connection with the interpretation,
implementation, consummation or enforcement of this Plan, including disputes arising under
agreements, documents or instruments executed in connection with this Plan;

        8.     Consider any modifications of this Plan and any implementing documents, cure any
defect or omission or reconcile any inconsistency in any order of the Bankruptcy Court, including,
without limitation, the Confirmation Order;

      9.    Issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any entity with implementation,
consummation, or enforcement of this Plan or the Confirmation Order;

      10.    Enter and implement such orders as may be necessary or appropriate if the
Confirmation Order is for any reason reversed, stayed, revoked, modified or vacated;

       11.    Hear and determine any matters arising in connection with or relating to this Plan,
the Disclosure Statement, the Confirmation Order or any contract, instrument, release or other
agreement or document created in connection with this Plan, the Disclosure Statement or the
Confirmation Order;

        12.    Enforce all orders, judgments, injunctions , releases, exculpations, indemnifications
and rulings entered in connection with the chapter 11 Case;

       13.     Except as otherwise limited by this Plan, recover all assets of the Debtor and
property of the Estate, wherever located;

       14.     Hear and determine matters concerning state, local and federal taxes in accordance
with sections 346, 505 and 1146 of the Bankruptcy Code;

       15.    Hear and determine all matters related to the property of the Estate from and after
the Confirmation Date;




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       16.    Hear and determine the Causes of Action, unless the Liquidating Trustee
determines, in his sole discretion, to commence an action or proceeding in another court of
competent jurisdiction;

        17.    Hear and determine all disputes involving the existence, nature or scope of the
injunctions indemnification, exculpation and releases granted pursuant to this Plan.

        18.     Hear and determine all disputes or other matters arising in connection with the
interpretation, implementation or enforcement of the Asset Sales;

        19.    Hear and determine all matters related to (i) the property of the Estate from and after
the Confirmation Date, (ii) the winding up of the Estate and (iii) the activities of the Liquidating
Trustee, including (A) challenges to or approvals of his activities, where required under this Plan
(B) resignation, incapacity or removal of the Liquidating Trustee, (C) reporting by, termination of
and accounting by Liquidating Trustee and (D) release of the Liquidating Trustee from his duties;

             20.   Hear and determine disputes with respect to compensation of professionals;

        21.    Hear and determine all disputes involving the existence, nature and/or scope of the
injunctions and releases provided by this Plan including any dispute relating to any liability arising
out of any termination of employment or the termination of any employee or retiree benefit
provision, regardless of whether such termination occurred prior to or after the Effective Date;

       22.    Hear and determine such other matters as may be provided in the Confirmation
Order or as may be authorized under, or not inconsistent with, provision of the Bankruptcy Code;

             23.   Enforce all orders previously entered by the Bankruptcy Court; and

             24.   Enter a final decree closing the Case.

                                          SECTION IX.
                                   MISCELLANEOUS PROVISIONS

A.           SUBSTANTIAL CONSUMMATION.

       The Plan shall be deemed to be substantially consummated when the Liquidating Trustee
makes the Initial Distribution.

B.           INSURANCE PRESERVATION.

        Any policies of insurance or indemnification escrows that may cover or apply to any Claims
against any other officer, director, employee, agent or other representative of the Debtor
(collectively, the "Insured Parties"), including, without limitation, any directors or officers liability
insurance policy, shall be preserved and shall remain in full force and effect following entry of the
Confirmation Order and nothing in this Plan, including any releases, shall diminish, impair or
prejudice the rights, claims, interests or defenses of any Insured Party.




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C.           TAX INJUNCTION.

        In accordance with § 346 of the Bankruptcy Code for purposes of any state or local law
imposing a tax, income will not be realized by the Debtor or by reason of forgiveness or discharge
or indebtedness resulting from the Case. As a result, each state or local taxing authority is
permanently enjoined and restrained, after the Confirmation Date, from commencing, continuing or
taking any act to impose, collect or recover in any manner any tax against the Debtor arising by
reason of the forgiveness or discharge of any such Person under this Plan. Notwithstanding any
other provision of this Plan, each Person or entity receiving a Distribution pursuant to this Plan
shall have sole and exclusive responsibility for the payment and satisfaction of tax Claims or
obligations imposed by any Governmental Unit on account of, arising out of or related to any such
Distribution, including, without limitation, income and withholding taxes.

D.  EFFECTUATING DOCUMENTS; FURTHER TRANSACTION; EXEMPTION
FROM TRANSFERS TAXES.

        1.      Pursuant to section 1146(a) of the Bankruptcy Code, the creation or transfer of any
mortgage, deed of trust or other security interest, the making or assignment of any lease or
sublease, or the making or delivery of any deed or other instrument of transfer under, in furtherance
of or in connection with this Plan, and executed in connection with the liquidation of assets shall
not be subject to any stamp tax, real estate tax or similar tax and the Confirmation Order shall
direct the appropriate state, commonwealth and local government officials or agents to forego the
collection of any such tax or governmental assessment and to accept for filing and recordation any
of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

        2.     On the Effective Date, all provisions of this Plan, including all releases, injunctions,
agreements, instruments and other documents filed in accordance with this Plan, shall be binding
and have res judicata, collateral estoppel, claim preclusion and issue preclusion effect upon the
Debtor, all Holders of Claims and Interests and all other entities that are affected in any manner by
this Plan. All agreements, instruments and other documents filed in connection with this Plan shall
have full force and effect, and shall bind all parties thereto as of the Effective Date, whether or not
such documents actually shall be executed by parties other than the Debtor or shall be issued,
delivered or recorded on the Effective Date or thereafter.

E.           NONCONSENSUAL CONFIRMATION.

       If all impaired classes do not vote in favor of this Plan, this Plan Proponent shall seek
confirmation of this Plan in accordance with section 1129(b) of the Bankruptcy Code, either under
the terms provided herein or upon such terms as may exist if this Plan is modified in accordance
with section 1127(a) of the Bankruptcy Code.

F.           MODIFICATION OF PLAN.

        The Plan Proponent may alter, amend or modify this Plan pursuant to section 1127(a) of the
Bankruptcy Code at any time prior to the Confirmation Date. After Confirmation Date and prior to
the substantial consummation of this Plan, as defined in section 1101(2) of the Bankruptcy Code,
this Plan Proponent may, pursuant to section 1127(b) of the Bankruptcy Code, institute proceedings


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in Bankruptcy Court to remedy any defect or omission or to reconcile any inconsistencies in this
Plan, the Disclosure Statement or the Confirmation Order and any other matters as may be
necessary to carry out the purposes and effects of this Plan; so long as such proceedings do not
adversely affect the treatment of Holders of Claims or provided, however, that prior notice of such
proceedings shall be served in accordance with Bankruptcy Rule 2002 or order of the Bankruptcy
Court.

G.           PLAN SUPPLEMENT(S).

        Exhibits to this Plan not attached hereto shall be filed in one or more Plan Supplements by
the Exhibit Filing Date. Any Plan Supplement (and amendments thereto) filed this Plan Proponent
shall be deemed an integral part of this Plan and shall be incorporated by reference as if fully set
forth herein. Substantially contemporaneously with its Filing, any Plan Supplement may be viewed
at the office of the clerk of the Court or its designee during normal business hours, by visiting the
Court's website at ecf.alnb.uscourts.gov (PACER account required) or by visiting
http://www.kccllc.net/brunos. Holders of Claims and/or Interests may obtain a copy of any Plan
Supplement upon written request to the Debtor. The documents contained in any Plan Supplement
shall be approved by the Bankruptcy Court pursuant to the Confirmation Order. To the extent any
Exhibit is inconsistent with the terms of this Plan, unless otherwise ordered by the Bankruptcy
Court, the non-Exhibit portion of this Plan shall control.

H.           NOTICE.

        Except as specifically provided otherwise in the order approving the Disclosure Statement,
any notice, pleading, objection or other document required by this Plan or the Confirmation Order,
shall be sent by overnight delivery service, facsimile transmission or hand delivery and deemed to
have been duly given or made when actually delivered or, in the case of notice by facsimile
transmission, when received and telephonically confirmed and addressed as follows:

             1.   If to the Debtor:

                         Robert B. Rubin
                         Derek F. Meek
                         Marc P. Solomon
                         BURR & FORMAN LLP
                         420 North 20th Street, Suite 3400
                         Birmingham, Alabama 35203
                         Facsimile:     (205) 458-5100

             2.   If to the Liquidating Trustee:

                  As set forth in the Confirmation Order.

             3.   If to the Bankruptcy Administrator:

                       J. Thomas Corbett
                       Office of the Bankruptcy Administrator
                       United States Bankruptcy Court


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                       1800 5th Avenue North
                       Suite 132
                       Birmingham, AL 35203

             4.   If to the Committee:

                         James R. Sacca, Esq.
                         John D. Elrod, Esq.
                         Greenberg Traurig LLP
                         The Forum
                         3290 Northside Parkway, Suite 400
                         Atlanta, GA 30327
                         Facsimile: (678) 553-2686

I.           SEVERABILITY; CONFLICT OF TERMS; SUCCESSORS AND ASSIGNS.

        If, prior to Confirmation, any term or provision of this Plan is held by the Bankruptcy Court
to be invalid, void or unenforceable, then the Bankruptcy Court, at the request of this Plan
Proponent, shall have the power to alter and interpret such term or provision to make it valid or
enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration or interpretation,
the remainder of the terms and provisions of this Plan shall remain in full force and effect and shall
in no way be affected, impaired or invalidated by such holding, alteration or interpretation. The
Confirmation Order shall constitute a judicial determination and shall provide that each been and
provision of this Plan, as it may have been altered or interpreted in accordance with the foregoing,
is valid and enforceable pursuant to its terms.

J.           CONFLICT OF TERMS.

        To the extent the Disclosure Statement and this Plan are inconsistent, the terms of this Plan
shall control.

K.           SUCCESSORS AND ASSIGNS.

       The rights, benefits and obligations of any Person named or referred to in this Plan shall be
binding upon, and shall inure to the benefit of, the heir, executor, administrator, successor or
assignee of such Person.

L.           PAYMENT OF BANKRUPTCY ADMINISTRATOR FEES.

       All fees payable through the Effective Date due the Bankruptcy Administrator shall be paid
on the Effective Date by the Liquidating Trustee on behalf of the Debtor. The Liquidating Trustee
shall pay quarterly fees to the Bankruptcy Administrator until the Case is closed or converted
and/or the entry of final decrees. The Bankruptcy Administrator shall not be required to file a
request or proof of claim for payment of its quarterly fees, which shall be paid by the Liquidating
Trustee on behalf of Debtor.



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M.           TAX REPORTING AND COMPLIANCE.

       The Liquidating Trustee are hereby authorized to request an expedited determination under
section 505(b) of the Bankruptcy Code of the tax liability of the Debtor for all taxable periods
ending after the Petition Date through and including the Effective Date.

                                                      Respectfully submitted,


                                                      /s/ Marc P. Solomon
                                                      Robert B. Rubin
                                                      Derek F. Meek
                                                      Marc P. Solomon

                                                      BURR & FORMAN LLP
                                                      420 North 20th Street, Suite 3400
                                                      Birmingham, Alabama 35283-0719
                                                      Phone:        (205) 251-3000
                                                      Facsimile:    (205) 458-5100

                                                      Attorneys for Debtor

                                                      BFW Liquidation, LLC (f/k/a Bruno's
                                                      Supermarkets, LLC

                                                      By: /s/ James Grady
                                                      Its: Chief Restructuring Officer




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                                  CLOSING STORES

       [To be Filed with the Court prior to the Hearing on the Disclosure Statement]




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                  GOING CONCERN STORES AND GOB STORES

       [To be Filed with the Court prior to the Hearing on the Disclosure Statement]




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                            PHARMACY ASSETS SALES

          [To be Filed with the Court prior to the Hearing on the Disclosure Statement]




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                             LIABILITIES OF DEBTOR

          [To be Filed with the Court prior to the Hearing on the Disclosure Statement]




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                             UNENCUMBERED ASSETS

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